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UNITED STATES OF AMERICA,

Plaintiff,

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v.
MARCGENSON MARC; TIANA CHARACTER;
LENORRIS LAMOUTE; DOSULD PIERRE;
SHIRLEEN THALES; ADVANCED TAX
SERVICES, INC.; GENSON FINANCIAL
GROUP, LLC; and CHARACTER FINANCIAL
SOLUTIONS, LLC,

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Defendants.
COMPLAINT FOR PERMANENT INJUNCTION AND OTHER RELIEF

The United States of America, for its complaint against Marcgenson Marc, Tiana
Character, LeNorris Lalvloute, Dosuld Pierre, Shirleen Thales, Advanced Tax Services, Inc.,
Genson Financial Group, LLC, and Character Financial Solutions, LLC, alleges the following:

l. This is a civil action brought by the United States under 26 U.S.C. §§ 7402, 7407,
and 7408 to enjoin Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre,
Shirleen Thales, Advanced Tax Services, Inc., Genson Financial Group, LLC, and Character
Financial Solutions, LLC, and anyone in active concert or participation With them, from:

a. acting as federal tax return preparers or requesting, assisting in, or
directing the preparation or filing of federal tax returns, amended
returns, or other related documents or forms for any person or entity
other than themselves;

b. preparing or assisting in preparing federal tax returns that they know

or reasonably should know Would result in an understatement of tax

liability or the overstatement of federal tax refund(s) as penalized by
26 U.S.C. § 6694;

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c. owning, operating, managing, working in, investing in, providing
capital or loans to, receiving fees or remuneration from, controlling,
licensing, consulting with, or franchising a tax return preparation
business;

d. training, instructing, teaching, and creating or providing cheat sheets,
memoranda, directions, instructions, or manuals, pertaining to the
preparation of federal tax returns;

e. maintaining, assigning, holding, using, or obtaining a Preparer Tax
Identification Number (PTIN) or an Electronic Filing Identitication
Number (EFIN);

f. engaging in any other activity subject to penalty under 26 U.S.C. §§
6694, 6695, 6701, or any other penalty provision in the Internal
Revenue Code; and

g. engaging in any conduct that substantially interferes with the proper
administration and enforcement of the internal revenue laws.

This action also seeks, under 26 U.S.C. § 7402, an order requiring Marcgenson Marc, Tiana
Character, LeNom`s LaMoute, Dosuld Pierre, Shirleen Thales, Advanced Tax Services, lnc.,
Genson Financial Group, LLC, and Character Financial Solutions, LLC to disgorge to the United
States the gross receipts that Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld
Pierre, Shirleen Thales, Advanced Tax Services, lnc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC received (in the form of tax preparation fees) for the
preparation of federal tax returns.
Authorization

2. This action has been requested and authorized by the Chief Counsel of the
Intemal Revenue Service, a delegate of the Secretary of the Treasury, and commenced at the
direction of a delegate of the Attorney General of the United States, pursuant to 26 U.S.C. §§

7402, 7407, and 7408.

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Jurisdiction and Venue

3. Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1340 and 1345 and 26
U.S.C. § 7402(a).

4. Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because several of the
Defendants reside in this judicial district and a substantial part of the activities giving rise to this
suit occurred in this judicial district.

Defendants

5. Marcgenson Marc resides in Coconut Creek, Florida. Marc has been preparing
tax returns for compensation since at least 2013. Marc is employed as a business specialist at a
bank.

6. Tiana Character resides in Orlando, Florida. Character has been preparing tax
returns for compensation since at least 2010. Character has been preparing tax returns at
Advanced Tax Services since at least 2015.

7. LeNorris LaMoute resides in Leesburg, Florida. LaMoute has been preparing tax
returns for compensation at Advanced Tax Services since at least 2015.

8. Dosuld Pierre resides in Gainesville, Florida. Pierre has been preparing tax returns
for compensation at Advanced Tax Services since at least 2015.

9. Shirleen Thales resides in Gainesville, Florida. Thales has been preparing tax
returns for compensation at Advanced Tax Services since at least 2018.

10. Advanced Tax Services, Inc. is a tax return preparation business in Florida doing
business under the name Advanced Tax Services.

l 1. On or about February 3, 2012, Marcgenson Marc incorporated Advanced Tax

Services, lnc., in Florida. Marc was initially the CEO of Advanced Tax Services, Inc. Two other

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individuals were identified as the president and vice president On or about March 5 , 2013, Marc
filed an Annual Report for Advanced Tax Services, lnc., identifying himself as the president and
secretary, and identifying two other individuals as vice presidents On or about November 27,
2013, Marc, identifying himself as the “Owner, CEO” of Advanced Tax Services, lnc., amended
the officers and directors of Advanced Tax Services, lnc., removing himself as president and
secretary, removing the two other individuals identified as vice presidents, and replacing these
officers and directors with Genson Financial Group, LLC as president, secretary, and treasurer.
According to the Annual Report that Marc, as “Owner” of Advanced Tax Services, Inc., filed on
or about April 6, 2018, Genson Financial Group, LLC is the president, treasurer, and secretary of
Advanced Tax Services, Inc. Marc serves as the registered agent of Advanced Tax Services,
lnc., which lists its business address as 5212 W. Colonial Dr., Orlando, FL 32808.

12. On or about November 25, 2013, Marc and two other individuals (who also
served as vice presidents of Advance Tax Services, Inc. in 2013) incorporated Genson Financial
Group, LLC in Florida. According to the amended Annual Report that Marc, as Manager of
Genson Financial Group, LLC, filed on June 13, 2018, Marc is the sole manager of Genson
Financial Group, LLC, Marc serves as the registered agent of Genson Finaneial Group, LLC,
which lists its business address as 5212 W. Colonial Dr., Orlando, FL 32808.

13. Marc, individually or through Advanced Tax Services, Inc. and/or Genson
Financial Group, LLC, operates tax return preparation stores doing business under the name
Advanced Tax Services.

14. Marc, individually or through Advanced Tax Services, Inc. and/or Genson
Financial Group, LLC, has, since 2013, operated up to eight tax preparation stores in Gainesville,

Orlando, Eatonville, Kissimmee, Pensacola, and Sanford, Florida. Marc entered into agreements

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With family and friends to operate some of the stores, with Marc retaining an ownership interest
in each store.

15. On or about June 14, 2018, Tiana Character incorporated Character Financial
Solutions, LLC in Florida. The articles of organization identify the business purpose of Character
Financial Solutions, LLC as “Income Tax Preparation.” Tiana Character is the sole manager and
registered agent of Character Financial Solutions, LLC. Character Financial Solutions, LLC lists
its business address as 112 North Orange Blossom Trail, Orlando, FL 32808, which has been an
Advanced Tax Services store location since at least 2015. Tiana Character, individually or
through Character Financial Solutions, LLC, owns or operates a tax preparation business.

16. Marc, Character, LaMoute, Pierre, and Thales prepare tax returns for
compensation In addition to personally preparing tax returns for compensation, Marc, as the
sole owner of Advanced Tax Services, Inc. and Genson Financial Group, LLC, and Character, as
the sole owner of Character Financial Solutions, LLC, employ individuals (directly or through
these entities) who prepare tax returns for compensation

Background

17. LBS Tax Services (“LBS”) began in 2008 as a tax return preparation business in
Orlando, Florida operated by Walner Gachette. In 2011, Gachette began franchising the LBS
name through Loan Buy Sell, lnc., a corporation organized in the State of Florida, to his
employees in order to broaden his revenue base. In 2016, the United States District Court for the
Middle District of Florida enjoined Gachette from preparing federal tax returns and owning,
operating, and franchising a tax preparation business See United States v. Walner Gachette,

6: l4-cv-1539 (M.D. Fla.).

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18. Marc began preparing tax returns in 2013, and his tax preparation business
quickly expanded Marc hired former LBS employees, including Character and Erotida Harden,
to train tax return preparers and manage and/or prepare tax returns at one or more of Marc’s tax
preparation stores. In 2013, Character worked as a tax return preparer at the LBS store located at
1504 East Michigan Street, Orlando, Florida 32806, a store that Harden managed. These former
LBS employees continued to follow LBS practices and policies and use LBS forms and similar
advertising while working at Marc’s tax preparation stores. In 2014 and 2015, Harden trained
tax return preparers working at Advanced Tax Services. The United States is simultaneously
filing a lawsuit against Harden.

19. Marc personally prepared the following number of tax returns identifying him as

the paid preparer in 2013, 2014, 2015, 2016, 2017, and 2018:

 

 

 

 

 

 

 

 

Processing Total Number Number of Returns % of Returns Number and % of Returns
Year of Returns Claiming a Refund Claiming a Refund Claiming EITCl

2013 l 247 247 100% 172 (69%)

2014 267 2662 99% 180 (67%)

2015 13 11 84% 7 (53%)

2016 29 29 100% 28 (96%)

2017 0 N/A N/A N/A

2018 4 4 100% 2 (50%)

 

 

 

 

 

20. Since expanding Advanced Tax Services, Marc has personally prepared fewer tax
returns, while devoting more time to overseeing the operation of Advanced Tax Services and its

several stores. From 2015 through 2018, employees of Marc and/or Advanced Tax Services,

 

lThe Earned lncome Tax Credit is a refundable tax credit available to certain low-income working people
in varying amounts based on the taxpayer’s income, filing status, and claimed number of dependents

2 The only tax return not claiming a refund was Marc’s personal federal income tax return.

 

 

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lnc., acting at Marc’s direction or with his knowledge and consent, have prepared the majority of

the tax returns prepared at Advanced Tax Services.

21.

Character personally prepared the following number of tax returns identifying her

as the paid preparer in 2015, 2016, 2017, and 2018:

 

 

 

 

 

 

 

 

 

 

 

Processing Total Number Number of Retums % of Retums Number and % of Returns
Year of Retums Claiming a Refund Claiming a Refund Claiming EITC
2015 120 120 100% 100 (83%)
2016 224 223 99% 173 (77%)
2017 408 406 99% 298 (73%)
2018 360 357 99% 219 (60%)
22. Of the 1,112 tax returns that Character prepared from 2015 through 2018, only 6

tax returns did not request a refund.

23.

LaMoute personally prepared the following number of tax returns identifying him

as the paid preparer in 2015, 2016, 2017, and 2018:

 

 

 

 

 

 

 

 

 

 

 

Processing Total Number Number of Retums % of Retums Number and % of Retums
Year of Retums Claiming a Refund Claiming a Refund Claiming EITC
2015 100 100 100% 55 (55%)
2016 176 176 100% 124 (74%)
2017 210 209 99% 139 (66%)
2018 129 128 99% 81 (62%)
24. Of the 615 tax returns that LaMoute prepared from 2015 through 2018, only 2 tax

returns did not request a refund.

25.

the paid preparer in 2015, 2016, 2017, and 2018:

Pierre personally prepared the following number of tax returns identifying him as

 

 

 

 

 

Processing Total Number Number of Retums % of Retums Number and % of Retums
Year of Retums Claiming a Refund Claiming a Reli.md Claiming EITC

2015 137 137 100% 110 (80%)

2016 204 203 99% 162 (79%)

2017 212 212 100% 179 (84%)

2018 74 73 98% 56 (75%)

 

 

 

 

 

 

 

 

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26. Of the 627 tax returns that Pierre prepared from 2015 through 2018, only 2 tax
returns did not request a refund.
27. Thales personally prepared the following number of tax returns identifying her as

the paid preparer in 2018:

 

 

 

Processing Total Number Number of Retums % of Retums Number and % of Retums
Year of Retums Claiming a Refund Claiming a Refund Claiming EITC
2018 171 170 99% 128 (74%)

 

 

 

 

 

28. According to IRS records showing tax returns filed identifying the Employer
Identification Numbers and/or the Electronic Filing Identification Numbers used by Advanced
Tax Services, lnc., Advanced Tax Services, Inc. stores filed at least 376 tax returns in 2013,
1,768 tax returns in 2014, 2,278 tax returns in 2015, 1,424 tax returns in 2016, 943 tax returns in
2017, and 805 tax returns in 2018. Marc hires the tax return preparers employed at Advanced
Tax Services, Inc., establishes the practices and policies at Advanced Tax Services, Inc. stores,
and oversees the preparation of tax returns at Advanced Tax Services, Inc. stores.

29. A tax return preparer, as defined by 26 U.S.C. § 7701(a)(36), includes not only
the individual Who physically prepares a tax return for compensation, but also anyone “who
employs one or more persons” to prepare tax returns for compensation, In addition to personally
preparing tax returns, Marc (individually or through Advanced Tax Services, Inc. and Genson
Financial Group, LLC) and Character (individually or through Character Financial Solutions,
LLC) own and operate tax preparation stores and employ (directly or through those entities) one
or more persons who prepare tax returns for compensation,

30. Individuals and firms that electronically file tax returns must first obtain an
Electronic Filing Identiiication Number (EFIN) from the IRS. ln 2015, the IRS investigated

whether a tax return preparer at an Advanced Tax Services store located in Orlando complied

 

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With the “due diligence” requirements when preparing tax returns claiming the Earned lncome
Tax Credit. In January 2016, following the investigation, which included interviewing Marc, the
IRS suspended Marc’s EFIN to prevent him from electronically filing tax returns

31. In response to having his EFIN suspended, rather than cease filing tax retums,
Marc began to file tax returns using the EFIN registered to a Hiend and former LBS employee.
In at least 2016, tax returns filed at an Advanced Tax Services store were filed using the EFIN
registered to that former LBS employee Filing tax returns using an EFIN registered to another
business or individual violates IRS rules and regulations

The Defendants’ Activities

32. The Defendants prepare tax returns to generate bogus refunds for customers
enabling the Defendants to charge exorbitant fees and maximize profits at the expense of the
United States Treasury.

33. Many of the Defendants’ customers earn low to moderate incomes and lack
knowledge regarding tax law and tax return preparation Customers often have no knowledge
that the Defendants have prepared and filed false tax returns on their behalf. For others, the
Defendants mislead customers about what can “legally” be claimed on their tax returns,
particularly With respect to various credits and deductions, and by promising customers
thousands of dollars of (illegal) refunds to convince them to have the Defendants prepare their
tax returns.

34. The Defendants make false claims on tax returns, particularly on the forms
attached to those returns, in order to improperly increase customers’ refunds Afier completing
the returns, the Defendants falsely tell the customers that these forms legally increased the

customers’ refunds, and charge higher (and often undisclosed) fees due to the additional forms

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and the higher refund that the Defendants claimed. The Defendants charge customers fees for

preparing the retum, fees for each tax form attached to the retum, and fees for filing the return.

These fees are all deducted from the customer’s tax refund, often without the customer being told

the amount that the Defendants actually charged for preparing the tax return.

35.

The Defendants request on customers’ tax returns a refund amount that is not

based on the customers’ actual income, expenses, deductions, and applicable qualifying credits

Instead, the refund is based on fabricated income, expenses, deductions, and credits reported by

the Defendants

36. The Defendants engage in unlawful tax return preparation practices including:

a. Making false claims for the Earned lncome Tax Credit;

b. Circumventing due diligence requirements in order to unlawfully maximize the
Earned lncome Tax Credit;

c. Fabricating businesses and related business income and expenses;

d. lrnproperly claiming false filing status, such as Head of Household;

e. Fabricating itemized deductions, including for unreimbursed employee business
expenses, charitable contributions and tax preparation fees paid;

f. Falsely claiming the federal Fuel Tax Credit;

g. Reporting inflated federal income tax withholdings that far exceed the amounts
actually reported on customers’ Forms W-2;

h. Improperly preparing returns based on paystubs rather than Forms W-2;

i. Claiming education credits to which their customers are not entitled;

j. F ailing to identify the actual paid preparer of the tax return;

k. Failing to provide customers with a copy of the completed tax retum; and

Charging deceptive and unconscionable fees

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Phony Claims for the Earned lncome T ax Credit
and Failure to Comply with Due Diligence Requirements

37. The Defendants prepare tax returns that include fraudulent claims for the Earned
lncome Tax Credit (“EITC”) often based on fabricated business income and expenses, bogus or
improperly-claimed dependents, and/or false filing status

38. The EITC is a refundable tax credit available to certain low-income working
people. The amount of the credit is based on the taxpayer’s income, filing status, and claimed
number of dependents Because the EITC is a refundable credit, claiming an EITC can, in
certain circumstances reduce a taxpayer’s federal tax liability below zero, entitling the taxpayer
to a payment from the U.S. Treasury.

39. Due to the method used to calculate the EITC, an individual can claim a larger
EITC by claiming multiple dependents and, for certain income ranges, individuals with higher
earned income are entitled to a larger credit than those with lower earned income, The amount
of the credit increases as income increases between $1 and $14,000, and decreases as income
increases beyond $18,350. Some tax preparers who manipulate reported income to maximize the
EITC refer to this range of earned income corresponding to a maximum EITC as the “sweet
spot” or “golden range.” For tax year 2017, the maximum EITC was $6,318 and was available
to eligible individuals with three dependent children Who earned income between 814,000 and
818,350.

40. Because of the way the EITC is calculated, reporting more income, up to a certain
point, allows customers to receive a larger refundable credit. Similarly, claiming losses to offset
higher income to decrease the total reported income and to fall within the “sweet spot” allows

customers to claim a larger refundable credit.

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41. The Defendants falsify information to claim the maximum EITC for customers
F or example, to bring the customer’s reported earned income within the “sweet spot” for the
EITC, and depending on a customer’s actual income, the Defendants inflate or fabricate business
income reported on a Form Schedule C, “Profit or Loss from Business (Sole Proprietorship)”
(used to report income and expenses from a sole proprietorship), in order to fraudulently increase
customers’ reported earned income, or claim bogus Schedule C expenses to fraudulently
decrease customers’ reported earned income.

42. The Defendants also report bogus “Household Help” income on their customers’
tax returns to falsely report earned income that improperly enables the customer to claim the
EITC. Household Help income (“HSH”) is paid to individuals typically hired to perform
household work, and these individuals are considered employees of the person for whom they
perform the household work; the employer determines and controls the work performed by the
individual The individual receiving the income may be paid in cash or non-cash benefits, on an
hourly, weekly, or monthly basis, for jobs such as babysitting, house cleaning, yard work, health
care, or driving Individuals who receive HSH receive Forms W-2 reporting income received
and taxes withheld, just as with any other employment The Defendants report bogus HSH
income on Line 7 of the Form 1040 income tax retum. IRS records do not show that Forrns W-2
were issued by employers to the customers for whom the Defendants reported the purported
HSH income on their tax retums. As with reporting fabricated income on a Form Schedule C,
reporting this fabricated HSH income enables the Defendants to falsely claim the EITC on
customers’ tax returns Often, the Defendants also falsely report that income tax was withheld

from the phony HSH income, and then request a bogus refund of the tax purportedly withheld,

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43. Because of the potential for abuse in claiming the EITC, Congress has authorized
the Secretary of the Treasury to impose “due diligence” requirements on federal tax return
preparers claiming the EITC for their customers These “due diligence” requirements obligate
the tax return preparer to make “reasonable inquiries” to ensure the customer is legitimately
entitled to the EITC. The tax return preparer may not “ignore the implications of information
furnished to, or known by, the tax return preparer, and must make reasonable inquiries if the
information furnished to the tax return preparer appears to be incorrect, inconsistent, or
incomplete.” Tax return preparers must also document their compliance with these requirements
and keep that documentation for three years

44. In 2015, the IRS investigated whether a preparer at the Advanced Tax Services
store located on Colonial Drive in Orlando complied with the due diligence requirements when
preparing tax retums. The IRS reviewed 75 tax year 2013 tax returns prepared by a preparer at
that Advanced Tax Services store in 2014, reviewed the related customer files, interviewed the
preparer, and interviewed Marc. The IRS determined that the preparer failed to comply with the
due diligence requirements when preparing all 75 of the reviewed tax returns The IRS assessed
$37,500 against the preparer for 75 violations of 26 U.S.C. § 6695(g). According to the preparer,
when preparing these tax returns, she followed the Advanced Tax Services-established policies
and procedures and the training provided to her at Advanced Tax Services

45. In 2018, the IRS investigated whether Tiana Character complied with the due
diligence requirements when preparing tax returns The IRS reviewed 51 tax year 2017 tax
returns that Character prepared in 2018, reviewed the related customer iiles, interviewed

Character, and interviewed Marc. The IRS determined that Character failed to comply with the

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due diligence requirements when preparing all 51 of the reviewed tax returns The IRS assessed
$53,040 against Character for 51 violations of 26 U.S.C. § 6695(g).

46. The Defendants fail to comply with the due diligence requirements The
Defendants show an intentional disregard for the tax laws and in particular for the due diligence
requirements

Fabricated Schedule C Business lncome and Expenses

47. The Defendants prepare tax returns reporting non-existent businesses on bogus
Forms Schedule C. On some of these returns, the Defendants report substantial business income,
but little or no expenses On other returns, the Defendants report substantial expenses, but little
or no income. The determining factor is whether the tax return preparer needs to inflate a
customer’s income (or create income when the customer has none) to bring the reported income
Within the EITC “sweet spot,” or to lower the taxable income of a customer who has actual
income (such as wages reported on a W-2) in order to either bring the income within the EITC
“sweet spot” or simply to create a phony business loss to offset the customer’s wages and falsely
or fraudulently reduce the customer’s income tax liability.

48. According to Character, while working at LBS, she was taught to report a
customer’s personal expenses as business expenses on Forrns Schedule C. The Defendants and
preparers at Advanced Tax Services report personal expenses and fabricated expenses on Forrns
Schedule C to falsely reduce a customer’s taxable income and generate a larger, bogus refimd.

49. In 2015, preparers at Advanced Tax Services, including Marc, Character,
LaMoute, and Pierre, prepared at least 535 federal income tax returns that reported, on a Form
Schedule C, Q income from a business but expenses totaling $4,000 or more purportedly

incurred for a business Of these 535 tax returns reporting no income but over $4,000 in expenses

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on a Form Schedule C, 371 reported expenses totaling $10,000 or more; 124 reported expenses
totaling $20,000 or more; and 28 reported expenses totaling $30,000 or more.

50. ln 2016, preparers at Advanced Tax Services, including Character, LaMoute, and
Pierre, prepared at least 291 federal income tax returns that reported, on a Form Schedule C, @
income from a business, but expenses totaling $4,000 or more purportedly incurred for a
business Of these 291 tax returns reporting no income but over $4,000 in expenses on a Form
Schedule C, 221 reported expenses totaling 810,000 or more; 93 reported expenses totaling
$20,000 or more; and 21 reported expenses totaling $30,000 or more.

51. In2017, preparers at Advanced Tax Services, including Character, LaMoute, and
Pierre, prepared at least 155 federal income tax returns that reported, on a Form Schedule C, rig
income from a business, but expenses totaling $4,000 or more purportedly incurred for a
business Of these 155 tax returns reporting no income but over $4,000 in expenses on a Form
Schedule C, 108 reported expenses totaling $10,000 or more; 29 reported expenses totaling
$20,000 or more; and 7 reported expenses totaling $30,000 or more.

52. In 2018, preparers at Advanced Tax Services, including Marc, Character,
LaMoute, Pierre, and Thales, prepared at least 72 federal income tax returns that reported, on a
Form Schedule C, @ income from a business, but expenses totaling $4,000 or more purportedly
incurred for a business Of these 72 tax returns reporting no income but over $4,000 in expenses
on a Form Schedule C, 50 reported expenses totaling $10,000 or more; 7 reported expenses
totaling $20,000 or more; and 1 reported expenses totaling $30,000 or more.

Customer 1

53. For example, Character prepared the 2016 and 2017 federal income tax returns of

Customer l of Orlando, Florida. Customer 1 and his wife went to have their tax returns

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prepared. Character told Customer 1 and his wife that they could file separate tax retums and
then falsely claimed “single” filing status on Customer 1’s tax retum.

54. In 2016 and 2017, Customer 1 was employed as a manager at a seafood
warehouse Customer 1 did not own or operate a business and did not tell Character that he
owned a business When having his tax returns prepared, Customer l provided Character with
his paystubs, Form W-2, ID, and children’s social security infonnation. Customer 1’s wages
totaled $42,134 in 2016 and $45,582 (reported on the return as $47,464) in 2017 .

55. On the Schedule C attached to Customer l’s 2016 tax return, Character falsely
claimed that Customer 1 owned a business, not identified by name or type of business through
which Customer 1 had no sales and received no gross receipts but incurred $14,947 in expenses
The fabricated expenses included $12,397 for car and truck expenses $450 for meals and
entertainment, and $2,100 for utilities Customer l, who did not operate a business did not incur
any such business expenses and did not provide the fabricated expense amounts to Character.
Character did not review the completed tax return with Customer l, and did not inform Customer
1 that she reported fabricated business expenses on his tax retum.

56. By reporting the phony business loss Character falsely claimed an EITC in the
amount of $3,680 and a bogus refund in the amount of $11,922 on Customer l’s 2016 tax retum.

57. On the Schedule C attached to Customer l’s 2017 tax return, Character falsely
claimed that Customer 1 owned a business not identified by name or type of business through
which Customer 1 had no sales and received no gross receipts but incurred 825,498 in expenses
The fabricated expenses included $11,798 for car and truck expenses $7,5 00 for insurance, and
$6,200 for utilities Customer 1, who did not operate a business did not incur any such business

expenses and did not provide the fabricated expense amounts to Character. Character did not

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review the completed tax return with Customer l, and did not inform Customer 1 that she
reported fabricated business expenses on his tax retum.

58. Character also falsely claimed itemized deductions on the Schedule A attached to
Customer l’s tax return in the total amount of $33,105, including $33,000 in purported
unreimbursed employee expenses (see paragraphs 92-94, infra). Character also falsely reported
that Customer l had $5,311 in taxes Withheld from his Wages when the Form W-2 from
Customer l’s employer reported that Customer 1 actually only had $4,811 in taxes withheld (see
paragraphs 155-157, inj?'a). By reporting the fabricated business loss, itemized deductions and
falsely inflated withholdings Character falsely claimed an EITC in the amount of $4,850 and a
bogus refund in the amount of $ 12,161 on Customer l’s 2017 tax retum. The amount of the
refimd that Character claimed on the 2017 tax return she filed with the IRS was more than the
refund claimed on the copy she provided to Customer 1, and more than the refund that Customer
1 actually received. Character did not provide Customer 1 with complete copies of his tax returns
containing the Forms Schedule A or C.

Customer 2

59. Character prepared the 2015 federal income tax retum of Customer 2 of Orlando,
Florida.

60. Customer 2 worked as a commercial truck driver and received a Form W-2 from
his employer. In 2015, Customer 2’s wages totaled $70,135. Customer 2 did not own or operate
his own business in 2015.

61. Character falsely reported on the Schedule C attached to the tax return that
Customer 1 owned a business not identified on the Schedule C by name or type of business

through which Customer 2 purportedly did not have any sales or receive any gross receipts but

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incurred $36,599 in expenses The fabricated expenses included $10,492 for car and truck
expenses $864 for insurance, $6,212 for renting or leasing vehicles $14,251 for renting or
leasing business property, $115 for taxes and licenses and $4,625 for utilities Customer 2 did
not operate a business did not incur any such business expenses and did not provide the
fabricated expense amounts to Character. Character did not review the completed tax return with
Customer 2, and did not inform Customer 2 that she reported fabricated business expenses on his
tax retum.

62. By claiming the phony business loss Character falsely claimed an EITC in the
amount of $2,985, and a bogus refund in the amount of $8,863.

63. Following the IRS’s examination of his 2015 tax return, Customer 2 owed
$ l 9,364.91 in taxes interest, and penalties

Customer 3

64. LaMoute prepared the 2017 federal income tax return of Customer 3 of Wesley
Chapel, Florida. In 2017, Customer 3 was employed as a security guard and as a customer
service representative, and his only job-related expenses were for commuting to and from his
jobs which are not deductible expenses Customer 3 did not own or operate a business in 2017.

65. On the Schedule C attached to Customer 3 ’s 2017 tax return, LaMoute falsely
claimed that Customer 3 owned a business not identified by name or type of business through
which Customer 3 had no sales and received no gross receipts but incurred $15,371 in expenses
all for purported car and truck expenses Customer 3, who did not own a business did not incur
any such business expenses and did not provide the fabricated expense amounts to LaMoute.

66. By reporting the fabricated business loss along With a non-qualifying dependent

(discussed in paragraphs 83-86, infra), a bogus fuel tax credit (discussed in paragraphs 136-140,

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infra), and fabricated itemized deductions (as discussed in paragraphs 96-101, infra), LaMoute
falsely claimed an EITC in the amount of $3,400 and a bogus refund in the amount of $8,432 on
Customer 3 ’s 2017 tax retum.

Customers 4 and 5

67. Character prepared the 2016 federal income tax return of Customers 4 and 5 of
Orlando, Florida. Customers 4 and 5 were employed at Disney in 2016, Customers 4 and 5
received wages totaling $62,491 in 2016.

68. On the Schedule C attached to the 2016 tax return, Character falsely claimed that
Customer 4 owned a business not identified by name or type of business through which
Customer 4 had no sales and received no gross receipts but incurred $30,500 in expenses
including $1,200 for insurance, $19,800 for renting business property, 83,000 for repairs and
maintenance, and $6,500 for utilities Customer 4 did not operate a business and did not incur
any such business expenses

69. By claiming the fabricated business loss Character falsely claimed an EITC in the
amount of $3,838 and a bogus refund in the amount of $9,890 on the 2016 tax return of
Customers 4 and 5. As discussed in paragraphs 119-121, infra, on the 2017 tax return of
Customers 4 and 5 , rather than falsely reduce the taxable income of Customers 4 and 5 by
reporting a phony business loss on a Schedule C, Character falsely claimed over $54,000 in
fabricated job expenses on a Schedule A attached to that tax retum.

Customer 6

70. Character prepared the 2017 federal income tax return of Customer 6 of Orlando,

Florida. Customer 6 received Wages totaling $54,637 in 2017.

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71. On the Schedule C attached to the tax return, Character falsely claimed that
Customer 6 owned a business not identified by name or type of business through which
Customer 6 had no sales and received no gross receipts but incurred $14,049 in expenses
including 810,049 for car and truck expenses $500 for supplies and $3,500 for utilities
Customer 6 did not operate a business and did not incur any such business expenses

72. On the Schedule A attached to the tax return, Character also falsely reported that
Customer 6 incurred $42,730 in unreimbursed employee business expenses an amount greater
than 78% of Customer 6’s wages By claiming the fabricated business loss and phony job-
related expenses Character falsely reduced Customer 6’s taxable income to zero, claimed a
fabricated EITC in the amount of $933, and claimed a bogus refilnd in the amount of $6,673.

73. Another preparer at Advanced Tax Services prepared the 2015 federal income tax
return of Customer 6. Customer 6 received wages totaling 840,994 in 2015. On the Schedule C
attached to the 2015 tax return, the preparer falsely claimed that Customer 6 owned a business
not identified by name or type of business through which Customer 6 had no sales and received
no gross receipts but incurred $20,967 in expenses including $15,717 for car and truck
expenses $2,800 for renting business property, and $2,450 for supplies Customer 6 did not
operate a business and did not incur any such business expenses

74. By claiming the fabricated business loss the Advanced Tax Services preparer
falsely claimed an EITC in the amount of $5,145 and a bogus refund in the amount of $9,1 76 on
the 2015 tax return of Customer 6.

Customer 7

75. Character prepared the 2016 and 2017 federal income tax returns of Customer 7

of Orlando, Florida. Customer 7 received wages totaling $ l 9,3 70 in 2016,

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76. On the Schedule C attached to the tax return, Character falsely claimed that
Customer 7 owned a business not identified by name or type of business through which
Customer 7 had no sales and received no gross receipts but incurred $5,622 in expenses all for
purported utility expenses Customer 7 did not operate a business and did not incur any such
business expenses

77. By claiming the fabricated business loss Character falsely reduced Customer 7’s
taxable income to zero, claimed a fabricated EITC in the amount of $3,373, and claimed a bogus
refund in the amount of $6,509.

78. Customer 7 received wages totaling $37,249 in 2017 working at CVS. On the
Schedule C attached to the tax return, Character falsely claimed that Customer 7 owned a
business not identified by name or type of business through Which Customer 7 had no sales and
received no gross receipts but incurred $10,523 in expenses all purportedly related to renting or
leasing business property. Customer 7 did not own a business or incur any such expenses

79. On the Schedule A attached to the tax return, Character also falsely reported that
Customer 7 incurred $35,368 in unreimbursed employee business expenses an amount greater
than 90% of Customer 7 ’s wages from CVS. By claiming the fabricated business loss and phony
job-related expenses Character falsely reduced Customer 7 ’s taxable income to zero, claimed a
fabricated EITC in the amount of $l,772, and claimed a bogus refund in the amount of $4,122.

Customer 8

80. Customer 8 of Gainesville, Florida had his 2016 and 2017 federal income tax
returns prepared at the Advanced Tax Services store in Gainesville. Customer 8 was employed

by Coca-Cola in 2016 and 2017.

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81. Pierre prepared Customer 8’s 2016 tax retum. Customer 8 received wages totaling
$26,843 in 2016. On the Schedule C attached to the return, Pierre falsely reported that Customer
8 owned a business not identified by name or type of business through which Customer 8 had
no sales and received no gross receipts but incurred expenses totaling $18,295, all for purported
car and truck expenses Pierre also falsely claimed a fuel tax credit (discussed in paragraphs 136-
140, infra), in the amount of $547, based on a purported 2,987 gallons of fuel purchased for off-
highway business use. As a result of these false claims Pierre claimed a bogus refund of $2-,046
on Customer 8’s 2016 tax retum.

82. Thales prepared Customer 8’s 2017 tax retum. Customer 8 received wages
totaling $29,016 in 2017. On the Schedule C attached to the return, Thales falsely reported that
Customer 8 owned a business not identified by name or type of business through Which
Customer 8 had no sales and received no gross receipts but incurred expenses totaling $19,924,
all for purported car and truck expenses Thales also falsely claimed a fuel tax credit (discussed
in paragraphs 136-140, inji*a), in the amount of $565, based on a purported 3,087 gallons of fuel
purchased for off-highway business use. As a result, Thales claimed a fabricated EITC in the
amount of $251 and a bogus refund of $2,817 on Customer 8’s 2017 tax retum.

Intentionally Claiming an Improper Filing Status and Bogus Dependents

83. The Defendants prepare tax returns reporting false filing status Specifically,
Head of Household filing status is claimed on customers’ tax returns to increase the amount of
the customers’ standard deduction, when the Defendants know that the customer does not qualify
for Head of Household filing status

84. The Defendants file separate returns for married couples who are not living apart,

improperly using the “Head of Household” or “Single” filing status both of which are

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unavailable to married couples living together. Often, this is an attempt to increase the claimed
EITC; a qualifying couple with at least two children who, together, might otherwise receive a
single EITC refund of $5,000 by properly claiming “married, filing jointly,” may instead each
unlawfully receive a refund of $3,000 or more, by both falsely claiming Head of Household or
single status and each claiming at least one dependent

85. Additionally, the Defendants claim dependents who do not actually qualify as
dependents on customers’ tax retums and then claim Head of Household filing status to increase
the customers’ refunds through both the false filing status and fraudulent EITC claim based on
the bogus dependents

Customer 3 §con’t)

86. For example, as discussed in paragraphs 64-66, supra, LaMoute prepared the
2017 federal income tax return of Customer 3. In 2017, Customer 3 lived with his girlfi'iend and
his girlfriend’s daughter. LaMoute knew that Customer 3 Was not married, and that the child
was not related to Customer 3. However, LaMoute falsely claimed the child as a dependent on
the tax return as Customer 3’s “stepchild,” falsely claimed a related Child Tax Credit, and falsely
claimed the EITC in the amount of $3,400 as a result.

Customers 9 and 10

87. Character prepared the separate 2016 and 2017 federal income tax returns of
Customers 9 and 10 of Orlando, Florida. Customers 9 and 10 were married in 2016 and 2017,
went to Advanced Tax Services together to have their tax returns prepared, and informed
Character that they were married Character informed Customers 9 and 10, without additional

information, that they would receive a larger refund if they filed separate tax returns

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88. Character prepared separate tax returns for Customers 9 and 10 for both 2016 and
2017. Character falsely claimed “single” filing status on Customer 9’s 2016 and 2017 tax
returns and falsely claimed “head of household” filing status on Customer 10’s 2016 and 2017
tax returns Character also falsely claimed the children of Customers 9 and 10 as dependents on
separate tax returns On the 2016 tax returns Character claimed two children as dependents on
Customer 10’s tax return, While claiming two children as dependents on Customer 9’s tax return.
On the 2017 tax retums Character claimed one child as a dependent on Customer 10’s tax
return, while claiming two children as dependents on Customer 9’s tax retum.

89. In addition, on the Schedule C attached to Customer 9’s 2016 tax return,
Character falsely reported that Customer 9 owned a business not identified by name or type of
business through which Customer 9 had no sales and received no gross receipts but incurred
expenses totaling $12,178, including for insurance ($4,000), repairs and maintenance ($7,800),
and deductible meals and entertainment ($378). Customer 9 did not have a business and did not
provide these purported expenses amounts to Character. On the Schedule A attached to the 2016
tax return, Character falsely claimed that Customer 9 incurred unreimbursed employee business
expenses totaling $12,914 and tax preparation fees also totaling 812,914. Customer 9 did not
incur these expenses and did not discuss these purported expenses with Character. ln 2017,
Customer 9 started a lawn care business On the Schedule C attached to Customer 9’s 2017 tax
return, Character falsely reported that Customer 9’S lawn care business had no sales and received
no gross receipts but incurred expenses totaling 812,943, including for repairs and maintenance
($3,277), supplies ($3,288), deductible meals and entertainment ($578), and utilities ($5,800).
Customer 9 did not incur these expenses and did not provide these purported expenses amounts

to Character. On the Schedule A attached to the 2016 tax return, Character falsely claimed that

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Customer 9 incurred unreimbursed employee business expenses totaling $25,244. Customer 9
did not incur these expenses and did not discuss these purported expenses With Character.

90. Character thus falsely claimed the EITC in the amounts of $4,1 ll and $5,616 and
bogus refunds of $9,715 and 810,091 on Customer 9’s 2016 and 2017 tax returns respectively.
Character falsely claimed the EITC in the amounts of $5,572 and $3,400 and bogus refunds of
$7,797 and $6,298 on Customer 10’s 2016 and 2017 tax returns respectively.

Customers 28 and 29

91. Character falsely prepared separate 2016 tax returns for Customers 28 and 29 of
Kissimmee, Florida. Customers 28 and 29 completed forms provided to customers at Advanced
Tax Services lnc., on Which they identified each other as a spouse. Moreover, the mortgage
interest statement that Customers 28 and 29 provided Character identified both Customers 28
and 29 as the joint borrowers Knowing that Customers 28 and 29 were married, Character,
falsely claimed “head of household” filing status and claimed the son of Customers 28 and 29 as
a dependent on Customer 28’s 2016 tax return, while claiming “married filing separately” status
- and identifying Customer 28 as the spouse - on Customer 29’s 2016 tax retum. Customers 28
and 29 were each separately charged fees totaling $613 to have their 2016 tax returns prepared.

Bogus Schedule A Deductions

92. The Defendants prepare tax returns reporting bogus itemized deductions on Form
Schedule A, “Itemized Deductions” to improperly or fraudulently reduce customers’ taxable
income.

93. F or example, the Defendants prepare tax returns for customers that include Forms
Schedule A making false claims for purported unreimbursed employee business expenses

Section 162 of the Intemal Revenue Code governs trade or business expenses The Defendants

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often claim deductions for fabricated, fraudulently inflated, and/or non-qualifying business
expenses particularly for purported business miles driven by customers The Defendants ask
customers whether they incurred expenses for such personal expenditures such as rent, cell
phones and clothing, without explaining to customers that these expenses are actually non-
deductible If the customer responds that they had such expenses the Defendants then report
these non-deductible expenses as deductible employee business expenses in amounts that the
Defendants fabricate in order to maximize the customer’s refund. In instances where customers
do have actual qualifying expenses such as for charitable contributions the Defendants report a
falsely inflated amount of the expense that the customer incurred, to improperly increase the tax
refund claimed on the retum.

94. Often the claimed unreimbursed employee business expenses are false on their
face.

Customers 11 and 12

95. For example, Pierre prepared the 2017 federal income tax return of Customers ll
and 12 of Gainesville, Florida. Customers 11 and 12 received Wages totaling $61,3 86 in 2017.
Pierre falsely claimed that Customers 11 and 12 incurred unreimbursed employee business
expenses totaling $218,611, or nearly quadruple the amount of the wages they received.
Specifically, Pierre falsely reported that Customer 12, who worked at Wal-Mart and Burlington
Coat Factory and received wages totaling 847,294 in 2017, incurred unreimbursed employee
business expenses in the amount of $ 1 98,754 for overnight travel expenses Similarly, Pierre
falsely reported that Customer 11, who received wages totaling $ 14,092 in 2017, incurred

unreimbursed employee business expenses in the amount of $l9,857 for overnight travel

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expenses As a result, Pierre falsely reduced the taxable income of Customers 11 and 12 to zero
and claimed a bogus refund of $3,522 on their 2017 tax retum.

Customer 3 (con’t)

96. As discussed in paragraphs 64-66, supra, LaMoute prepared the 2017 federal
income tax return of Customer 3. LaMoute also prepared Customer 3’s 2016 federal income tax
return, but Pierre is identified as the paid preparer on the 2016 tax retum.

97. In 2016 and 2017, Customer 3 did not incur any job-related expenses his only
expenses were related to commuting to and from his jobs Customer 3’s wages totaled $33,255 in
2016 and $31,167 in 2017.

98. Customer 3 was employed as a security guard in 2016, On the Schedule A
attached to Customer 3’s 2016 tax return, LaMoute falsely reported that Customer 3 incurred
$27,427 in unreimbursed employee business expenses an amount exceeding 82% of the wages
Customer 3 received. The fabricated expenses included $l 1,987 for vehicle expenses $5,243 for
parking fees tolls and transportation, $6,824 for overnight travel, and $6,745 for meals and
entertainment (the exact same amount claimed on Customer 13’s 2017 tax return, see paragraph
104, infra). Customer 3 did not incur these expenses did not tell LaMoute that he incurred such
expenses and was not aware that LaMoute claimed these expenses on his tax return, LaMoute
also falsely claimed that Customer 3 incurred expenses of $8,769 for general sales taxes

99. By claiming the fabricated unreimbursed employee business expenses along with
a phony fuel tax credit (discussed in paragraphs 136-140, infra), LaMoute claimed a bogus
refund in the amount of $5,001 on Customer 3 ’s 2016 tax retum.

100. On the Schedule A attached to Customer 3’s 2017 tax return, LaMoute falsely

reported that Customer 3 incurred $24,971 in unreimbursed employee business expenses an

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amount exceeding 80% of the wages Customer 3 received. The fabricated expenses included
$l7,473 for vehicle expenses $5,034 for parking fees tolls and transportation, and $4,927 for
meals and entertainment, Customer 3 did not incur any of these expenses did not tell LaMoute
that he incurred such expenses and was not aware that LaMoute claimed these expenses on his
tax retum. LaMoute also falsely claimed that Customer 3 incurred expenses of $9,504 for
general sales taxes

101. By reporting the fabricated itemized deductions along with a non-qualifying
dependent (discussed in paragraph 86, supra), a bogus fuel tax credit (discussed in paragraphs
136-140, infra), and a fabricated business loss (discussed in paragraphs 64-66, supra), LaMoute
falsely claimed an EITC in the amount of $3,400 and a bogus refund in the amount of $8,432 on
Customer 3’s 2017 tax retum.

Customer 13

102. LaMoute prepared the 2017 federal income tax return of Customer 13 of Orlando,
Florida. Customer 13 worked three jobs in 2017, and received a Form W-2 from each of his
employers According to the Forms W-2, Customer 13’s wages totaled $7,852, and $263 in
taxes were withheld from the wages LaMoute, however, reported that Customer 13’s wages
totaled 816,850 and that 8579 in taxes were withheld from Customer 13’s wages Customer 13
did not incur any unreimbursed employee business expenses for his job, although he did
purchase fuel for a company truck on at least one occasion while delivering products

103. Customer 13 was not present when his 2017 tax return was prepared. He
provided his Forms W-2 to his girlfriend, who, in tum, provided them to someone at Advance

Tax Services Customer 13 ’s conversation with the preparer was limited to providing his bank

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account information to the preparer over the telephone Customer 13 never discussed any j ob-
related expenses with the preparer.

104. On the Schedule A attached to Customer 13’s tax return, LaMoute falsely
reported that Customer 13 incurred $21,546 in unreimbursed employee business expenses an
amount that exceeded the wages Customer 13 received by $4,696. The fabricated expenses
included $6,043 for vehicle expenses $5,481 for parking fees tolls and transportation, $6,649
for overnight travel expenses and $6,745 for meals and entertainment (the exact same amount
claimed on Customer 3’s 2017 tax return, see paragraph 98, supra). Customer 13 did not incur
these expenses did not tell LaMoute that he incurred such expenses and Was not aware that
LaMoute claimed these expenses on his tax retum. LaMoute also falsely reported that Customer
13 purchased 5,263 gallons of fuel for nontaxable use and claimed a bogus fuel tax credit (as
discussed in paragraphs 136-140, infra) in the amount of $963. Assuming, conservatively, that
the gas was purchased at $2.00 per gallon, Customer 13 would have incurred a gas expense in
the amount of 810,526. By claiming the fabricated job-related expenses and fuel tax credit, and
inflated amount of tax withholdings LaMoute claimed a bogus refund in the amount of $1,542
on Customer 13’s 2017 tax retum.

Customer 14

105. LaMoute prepared the 2017 federal income tax return of Customer 14 of
Hinesville, Georgia. Customer 14 was employed in the military in 2017, and received a Form
W-2 showing her wages Which totaled $28,399 in 2017. t

106. On the Schedule A attached to Customer 14’s tax return, LaMoute falsely
reported that Customer 14 incurred $63,974 in unreimbursed employee business expenses an

amount that exceeded the wages Customer 14 received by $35,575. The fabricated expenses

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included $9,980 for vehicle expenses 89,320 for parking fees tolls and transportation, two
separate claims for overnight travel expenses in the amounts of $1 9,855 and $19,523, and
810,592 for meals and entertainment

107. By claiming the fabricated unreimbursed employee business expenses LaMoute
claimed a bogus refund in the amount of $1,570 on Customer 14’s 2017 tax retum.

Customer 15

108. LaMoute prepared the 2016 and 2017 federal income tax returns of Customer 15
of Leesburg, Florida. Customer 15 is retired and was not employed in 2016 or 2017, but
received a pension from the State of Florida and Social security benefits

109. On the Schedule A attached to Customer 15’s 2016 tax return, LaMoute falsely
reported that Customer 15 incurred $12,803 in unreimbursed employee business expenses (even
though Customer 15 was retired and did not have a job). The fabricated expenses included
$5,768 for parking fees tolls and transportation, $2,346 for overnight travel expenses and
$4,609 for meals and entertainment, LaMoute also falsely claimed that Customer 15 incurred
expenses of $5,435 for general sales taxes Customer 15 did not incur these expenses did not tell
LaMoute that she incurred such expenses and was not aware that LaMoute claimed these
expenses on her tax return. By claiming the fabricated unreimbursed employee business
expenses and general sales taxes LaMoute claimed a bogus refund in the amount of $4,412 on
Customer 15’s 2016 tax retum.

110. On the Schedule A attached to Customer 15’s 2017 tax return, LaMoute falsely
reported that Customer 15 incurred $29,440 in unreimbursed employee business expenses (even
though Customer 15 was retired and did not have a job). The fabricated expenses included

817,070 for vehicle expenses $7,593 for overnight travel expenses and $9,553 for meals and

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entertainment, LaMoute also falsely claimed that Customer 15 incurred expenses of $4,656 for
state income taxes even though Florida does not impose a state income tax. Customer 15 did not
incur any of these expenses did not tell LaMoute that she incurred such expenses and was not
aware that LaMoute claimed these expenses on her tax return, By claiming the fabricated
unreimbursed employee business expenses and state income taxes LaMoute claimed a bogus
refund in the amount of $4,507 on Customer 15’s 2017 tax retum.

Customers 16 and 17

111. Character prepared the 2017 federal income tax return of Customers 16 and 17 of
Clermont, Florida.

112. Customer 16 was employed as a foreman at a utility construction company in
2017, and received wages totaling $76,772. Customer 17 was not employed in 2017. Customer
l6’s employer provided him with a company truck and reimbursed him for his expenses other
than his work boots and safety goggles for Which Customer 16 spent around $90.

113. Character did not ask Customer 16 Whether he incurred any job-related expenses
or how much he spent on any such expenses in 2017. On the Schedule A attached to the tax
return, Character falsely reported that Customer 16 incurred $49,130 in unreimbursed employee
business expenses an amount nearly equal to 64% of his wages Customer 16 did not incur
these expenses did not provide this amount to Character, and was unaware that Character
reported the fabricated expenses on his tax return, because she did not review the completed tax
return With Customer 16 and did not provide Customer 16 with a complete copy of the tax return
that included the Form Schedule A.

114. By reporting the fabricated job-related expenses on the Schedule A, Character

claimed a bogus refund in the amount of $9,016 on the 2017 tax return of Customers 16 and 17.

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Customer 16 was surprised at the amount of the refund, which was roughly double the amount
they received the previous year when their tax return was prepared at a different business

Customer 18

115. Customer 18 of Gainesville, Florida had his 2017 federal income tax return
prepared at the Advanced Tax Services store in Gainesville, Florida.

116. In 2017, Customer 18 was not employed at a job through Which Customer 18
received wages Customer 18 received social security benefit income in 2017. Thus, Customer
18 did not have any expenses related to any employment

117. The Advanced Tax Services preparer reported on line 7 of the return that
Customer 18 did not receive any wages or salary. The preparer then falsely reported on the
Schedule A attached to the tax return that Customer 18 incurred 827,862 in unreimbursed
employee business expenses related to a purported job that Customer 18 did not have in 2017.
The phony job-related expenses included $13,713 for vehicle expenses $5,475 for parking fees
tolls and transportation, and $8,674 for overnight travel expenses In addition, the preparer
falsely claimed a fuel tax credit in the amount of $ 1 ,453 related to the purported purchase of
$7,941 gallons of nontaxable gasoline (see paragraphs 136-140, infra).

118. By reporting the fabricated employee business expenses on the Schedule A and
the bogus fuel tax credit, the Advanced Tax Services preparer claimed a bogus refund in the
amount of $1,124 on Customer 18’s 2017 tax retum.

Customers 4 and 5 gcon’t)

119. Character prepared the 2017 federal income tax return of Customers 4 and 5 of
Orlando, Florida. Customers 4 and 5 were employed at Disney in 2017. According to the tax

retum, Customers 4 and 5 received wages totaling $80,363 in 2017.

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120. On the Schedule A attached to the 2017 tax return, Character falsely reported that
Customers 4 and 5 incurred unreimbursed employee business expenses totaling $54,620, or
approximately 68% of their reported wages Character did not prepare a Form 2106 to
categorize the purported expenses but merely reported the $54,620 as “expenses.” Customers 4
and 5 did not incur any such unreimbursed job-related expenses working at Disney.

121. By claiming the fabricated expenses Character falsely reduced the taxable
income of Customers 4 and 5 to $5,335 and claimed a bogus refund in the amount of $8,977.

Customers 19 and 20

122. Thales prepared the 2017 federal income tax return of Customers 19 and 20 of
Gainesville, Florida.

123. ln 2017, Customer 19 received wages totaling $46,800 and Customer 20 received
wages totaling $10,133 for her job at a fast food restaurant On the Schedule A attached to the
tax return, Thales falsely claimed, as a tax that Customers 19 and 20 paid in 2017, a personal
expense for “rent” in the amount of 81 1 ,400. Thales further falsely reported that Customer 19
incurred $9,855 in unreimbursed job-related meals and entertainment expenses and that
Customer 20 incurred 819,8 75 in unreimbursed job-related overnight travel expenses and $8,527
in unreimbursed job-related meals and entertainment expenses an amount that exceeded her
wages by over $18,000.

124. In addition, Thales falsely reported on the Schedule C attached to the return that
Customer 19 had a business not identified by name or type of business through which he had no
sales and received no gross receipts but incurred expenses totaling $22,876, all for purported car
and truck expenses The bogus expenses claimed on the Schedules A and C exceeded the 2017

income of Customers 19 and 20 by $18,833. Thales also falsely claimed a fuel tax credit

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(discussed in paragraph 136-140, infra), in the amount of $510, based on a purported 2,785
gallons of fuel purchased for off-highway business use. As a result of these false claims Thales
falsely reduced the taxable income of Customers 19 and 20 to zero and claimed a bogus refund
of $3,248 on the 2017 tax return of Customers 19 and 20.

Customer 21

125. Customer 21 of Gainesville, Florida had her 2016 and 2017 federal income tax
returns prepared at the Advanced Tax Services store in Gainesville. Customer 21 was employed
at an insurance company in 2016 and 2017, and also worked at Kelly Services in 2017.

126. LaMoute prepared Customer 21 ’s 2016 tax retum. Customer 21 received wages
totaling $41,702 in 2016, In 2016, Customer 21 did not incur any job-related expenses and did
not inform LaMoute that she incurred any such expenses On the Schedule A attached to the
return, LaMoute falsely claimed that Customer 21 incurred unreimbursed employee business
expenses totaling $33,142, or over 79% of her wages LaMoute falsely claimed that Customer
21 incurred job-related expenses in the amount of $14,075 for vehicle expenses $7,457 for
parking fees tolls and transportation, $7,356 for overnight travel expenses and $8,475 for meals
and entertainment As a result of these false claims LaMoute claimed a bogus refund of $4,739
on Customer 21 ’s 2016 tax retum.

127. Thales is identified as the preparer of Customer 21 ’s 2017 tax return, but
Customer 21 identified LaMoute as the preparer. Customer 21 received wages totaling $48,137
in 2017. In 2017, Customer 21 did not incur any job-related expenses and did not inform
LaMoute that she incurred any such expenses On the Schedule A attached to the return,
LaMoute falsely claimed that Customer 21 incurred unreimbursed employee business expenses

totaling $29,425, or over 61% of her wages LaMoute falsely claimed that Customer 21 incurred

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job-related expenses in the amount of $8,749 for vehicle expenses $8,445 for parking fees tolls
and transportation, $8,353 for overnight travel expenses and $7,756 for meals and

entertainment In addition, on the Schedule C attached to the return, LaMoute falsely reported
that Customer 21 owned a business not identified by name or type of business through which
Customer 21 had no sales and received no gross receipts but incurred expenses totaling $21,823,
all for purported car and truck expenses Customer 21 did not own a business and did not discuss
any business expenses with LaMoute. As a result of these false claims LaMoute claimed a
fabricated EITC in the amount of $2,124 and a bogus refund of $6,439 on Customer 21’s 2017
tax retum. LaMoute did not review the completed 2016 or 2017 tax return with Customer 21 and
Customer 21 was not aware of the false claims that LaMoute reported on the tax retums.

Customers 28 and 29 §con’t)

128. As discussed in paragraph 91, supra, Character prepared the separate 2016 federal
income tax returns of Customers 28 and 29. Customers 28 and 29 provided Character with a
copy of their Forms W-2 and 1098 Mortgage lnterest Statements showing that Customers 28
and 29 paid $4,7 31 in home mortgage interest

129. On the Schedule A attached to Customer 28’s 2016 tax return, Character falsely
claimed unreimbursed employee business expenses in the amount of $17,000, purportedly for a
“mortgage” - an alleged job-related expense claimed by an employee of a business - and also
claimed a deduction for tax preparation fees in the amount of $17,000. The combined fabricated
itemized deductions claimed nearly equaled the 837,283 in wages that Customer 28 received in
2016. Character also falsely claimed a fuel tax credit in the amount of $275, for purportedly
purchasing 1,500 gallons of fuel for off-highway business use (as discussed in paragraphs 136-

140, infra). Thus by claiming $34,000 in phony deductions on the Form Schedule A, and

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claiming a bogus fuel tax credit of $275, Character claimed a bogus refund in the amount of
$8,452 on Customer 28’s 2016 tax retum.

130. On Customer 29’s 2016 tax return, Character falsely claimed a fuel tax credit in
the amount of $92, for purportedly purchasing 500 gallons of fuel for off-highway business use.
In addition, on the Form Schedule A attached to the tax return, Character falsely claimed
unreimbursed employee business expenses in the amount of 828,726, purportedly for a
“mortgage” - again, an alleged job-related expense claimed by an employee of a business Thus
between the tax returns of Customers 28 and 29, Character falsely claimed that they incurred
$45,726 in mortgage expenses far greater than the $4,731 in home mortgage interest they
actually paid in 2016, By claiming $28,726 in phony job-related deductions on the Form
Schedule A, and claiming a bogus fuel tax credit of 892, Character claimed a bogus refund in the
amount of $5,682 on Customer 29’s 2016 tax retum.

131. Character claims fabricated expenses for tax preparation fees that the customers
purportedly incurred to have their tax return prepared the previous year. These false tax
preparation fee expenses are claimed in outrageous amounts that are false on their face,
frequently for thousands or tens of thousands of dollars ln 2017, Character prepared at least 44
tax retums falsely claiming that the customer incurred expenses for tax preparation fees between
$4,000 and $32,900. On all 44 of these tax returns Character also falsely reported that the
customers incurred unreimbursed employee business expenses in the exact same amount as the
reported phony tax preparation fee expense.

Customer 22

132. For example, Character prepared the 2016 federal income tax return of Customer

22 of Cocoa, Florida. In 2016, Customer 22 received wages totaling $56,360 from her two jobs

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133. On the Schedule A attached to the tax return, Character falsely reported that
Customer 22 incurred $25,700 in unreimbursed employee business expenses Character did not
categorize these fabricated expenses on a Form 2106. Character also falsely reported on the
Schedule A that Customer 22 incurred an expense in the exact same amount of $25,700 for tax
preparation fees Customer 22 did not incur any such expenses On the Schedule C attached to
the tax return, Character falsely reported that Customer 22 owned a business not identified by
name or type of business through which she had no sales and received no gross receipts but
incurred expenses totaling $28,450, including for insurance ($3,500), renting business property
($17,000), supplies ($1,500), deductible meals and entertainment ($250), and utilities ($6,200).
The claimed (and fabricated) itemized deductions and business loss totaled over $10,000 more
than Customer 22’s income in 2016, and falsely reduced Customer 22’s taxable income to zero.

134. In addition, Character falsely claimed a $1,000 American opportunity education
credit on Customer 22’s 2016 tax return (as discussed in paragraph 178, inji'a). Character falsely
reported that Customer 22 incurred $4,000 in qualified education expenses related to her son’s
education when, in reality, as reported on the Form 1098-T issued by the school, the scholarships
or grants that her son received exceeded the tuition by over $18,000, and Customer 22 did not
incur any out-of-pocket education-related expenses

135. As a result of these phony claims Character claimed a fabricated EITC in the
amount of $1,438 and a bogus refund in the amount of $6,838 on Customer 22’s 2016 tax retum.

Fraudulent Fuel Tax Credits

136. The Defendants prepare and file federal income tax returns for customers on

which they improperly claim false or fraudulent fuel tax credits using IRS Form 4136, “Credit

for Federal Tax Paid on Fuels.” The fuel tax credit is available only to taxpayers who operate

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farm equipment or other off-highway business vehicles Moreover, the equipment or vehicles
using the fuel must not be registered for highway uses The Defendants claim the fuel tax credit
for fabricated and non-qualifying fuel purchases

137. Intemal Revenue Code section 6421(a) provides a tax credit for fuel used in an
off-highway business use. Off-highway business use is any off-highway use of fuel in a trade or
business or in an income-producing activity where the equipment or vehicle is not registered and
not required to be registered for use on public highways Examples of off-highway business fuel
use include: (1) in stationary machines such as generators compressors power saws and similar
equipment; (2) for cleaning purposes and (3) in forklift trucks bulldozers and earthmovers

138. A highway vehicle is any “self-propelled vehicle designed to carry a load over
public highways whether or not it is also designed to perform other functions” A public
highway includes any road in the United States that is not a private roadway. This includes
federal, state, county, and city roads and streets The following highway vehicles are n_ot eligible
for the fuel tax credit: passenger automobiles motorcycles buses and hi ghway-type trucks and
truck tractors

139. ln short, the fuel tax credit does not apply to passenger cars or other vehicles that
are registered or required to be registered to drive on public highways

140. The Defendants claim the fuel tax credit for fabricated and non-qualifying fuel
purchases

141. In 2013 and 2014, Marc claimed the fuel tax credit on at least the following

number of tax retums:

 

 

 

Year Retums Total Returns Returos Claiming
Prepared Marc Prepared Fuel Tax Credit

2013 247 71

2014 267 159

 

 

 

 

 

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142. In 2015, 2016, 2017, and 2018, the Defendants claimed the fuel tax credit on at

least the following number of tax returns:

 

 

 

 

 

 

Preparer Prepared Prepared Prepared Prepared
in 2015 in 2016 in 2017 in 2018

Advanced Tax 416 298 126 86
Services (Total

Claiming FTC)

Tiana Character 2 50 15 l
Dosuld Pierre 45 36 44 5
LeNorris LaMoute 28 21 39 19
Shirleen Thales N/A N/A N/A 41

 

 

 

 

 

 

 

Customer 23

143. For example, Marc prepared the 2013 federal income tax retum of Customer 23 of
Gainesville, Florida. Customer 23 received wages totaling $3,792 and unemployment income in
the amount of $700 in 2013. Marc falsely reported that Customer 23 purchased 7,548 gallons of
fuel for off-highway business use. Assuming, conservatively, that the gas was purchased at
$2.00 per gallon, Customer 23 would have incurred a gas expense in the amount of $15,096, or
more than three times the amount of his combined wages and unemployment income. Marc
claimed a bogus fuel tax credit in the amount of $1,381, and a bogus refund of $1 ,95 1 on
Customer 23’s 2013 tax retum.

Customer 24

144. Marc prepared the 2013 federal income tax return of Customer 24 of Gainesville,
Florida. Customer 24 received wages totaling $2,653 (Marc only reported $2,617 of those
wages) and other, non-wage income totaling $2,779 (Marc only reported $2,232 of that income)
in 2013. Marc falsely reported that Customer 24 purchased 8,987 gallons of fuel for off-highway

business use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon,

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Customer 24 would have incurred a gas expense in the amount of $17,974, more than double the
amount of his total income. Marc claimed a bogus fuel tax credit in the amount of $1,645, and a
bogus refund of $l,537 on Customer 24’s 2013 tax retum.

Customer 25

145 . Similarly, Marc prepared the 2012 federal income tax return of Customer 25 of
Gainesville, Florida. Customer 25 did not receive any reported income in 2012. Marc falsely '
reported on line 7 of the tax return that Customer 25 received “HSH” income totaling $5,845.
Marc also falsely reported that $280 in taxes Were withheld from Customer 25’s phony income
based on amounts purportedly reported on a non-existent Form 1099 (as discussed in paragraphs
155-158, infra). Marc then falsely reported that Customer 25 purchased 3,945 gallons of fuel for
off-highway business use. Assuming, conservatively, that the gas was purchased at $2.00 per
gallon, Customer 25 Would have incurred a gas expense in the amount of $7,890. Marc claimed
a bogus fuel tax credit in the amount of $722. Thus Marc claimed a fabricated EITC in the
amount of $475 and a bogus refund of $1,404 on Customer 25’s 2012 tax retum.

Customer 26

146. Marc prepared the 2012 and 2013 federal income tax returns of Customer 26 of
Gainesville, Florida. In 2012, Customer 26 received wages totaling $4,023. Marc falsely reported
on line 7 of the tax return that Customer 26 received “HSH” income totaling $4,000, and falsely
reported Customer 26’s total income as $8,023. Marc also falsely reported that $240 in taxes
were withheld from Customer 26’s phony “l-ISH” income based on amounts purportedly reported
on a non-existent Form 1099 (as discussed in paragraphs 155-158, infra). Marc then falsely
reported that Customer 26 purchased 3,600 gallons of fuel for off-highway business use.

Assuming, conservatively, that the gas was purchased at $2.00 per gallon, Customer 26 Would

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have incurred a gas expense in the amount of $7,200. Marc claimed a bogus fuel tax credit in the
amount of $659. Thus, Marc claimed a fabricated EITC in the amount of $456 and a bogus
refund of $1,645 on Customer 26’s 2012 tax retum.

147. In 2013, Customer 26 received wages reported on two Forms W-2 totaling
$6,471, but only the'wages from one Form W-2, in the amount of $4,3 12, was reported on his tax
retum. Marc falsely reported that Customer 26 purchased 7,765 gallons of fuel for off-highway
business use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon,
Customer 26 would have incurred a gas expense in the amount of $ 1 5,530, or more than double
the amount of Customer 26’s wages Marc claimed a bogus fuel tax credit in the amount of
$1,421 and a bogus refund of $1,752 on Customer 26’s 2013 tax retum.

148. LaMoute prepared the 2014 federal income tax return of Customer 26. In 2014,
Customer 26 received wages totaling $10,258. LaMoute falsely reported that Customer 26
purchased 6,810 gallons of fuel for off-highway business use. Assuming, conservatively, that
the gas was purchased at $2.00 per gallon, Customer 26 would have incurred a gas expense in
the amount of $ 13,620, more than Customer 26’s Wages. LaMoute claimed a bogus fuel tax
credit in the amount of $1,246 and a bogus refund of $1,571 on Customer 26’s 2014 tax retum.

Customer 27

149. LaMoute prepared the 2016 federal income tax return of Customer 27 of
Gainesville, Florida. In 2016, Customer 27 received income through a pension from the State of
Florida, IRA or annuity distributions and social security totaling $37,567. Customer 27 was not
employed in 2016 and did not own or operate a business LaMoute falsely reported that
Customer 27 purchased 7,855 gallons of fuel for off-highway business use and 9,87 5 gallons of

fuel for other nontaxable use, a total of 17,7 30 gallons of fuel. Assuming, conservatively, that

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the gas was purchased at $2.00 per gallon, Customer 27 would have incurred a gas expense in
the amount of $35,460. LaMoute claimed a bogus fuel tax credit in the amount of $3,244 and a
bogus refund of $4,1 81 on Customer 27 ’s 2016 tax retum.

Customer 18 (con’t)

150. As discussed in paragraphs 115-118, supra, a preparer at Advanced Tax Services
claimed a bogus fuel tax credit on the 2017 tax return of Customer 18.

151. Customer 18’s 2015 and 2016 federal income tax returns were also prepared at
Advanced Tax Services and also claimed bogus fuel tax credits

152. LaMoute prepared Customer 18’s 2015 tax retum. According to IRS records in
2015, Customer 18’s sole income came from social security in the amount of $9,632. Customer
18’s 2015 tax return, however, reports purported wage income totaling $5,547. LaMoute falsely
reported that Customer 18 purchased 5,481 gallons of fuel for off-highway business use.
Assuming, conservatively, that the gas was purchased at $2.00 per gallon, Customer 18 Would
have incurred a gas expense in the amount of $ 1 0,962. LaMoute claimed a bogus fuel tax credit
in the amount of $1,003, and thereby claimed a bogus refund in the amount of $2,302 on
Customer 18’s 2015 tax return.

153. Pierre prepared Customer 18’s 2016 tax retum. On Customer 18’s 2016 tax
return, which reports self-employment income totaling $1,527 and social security benefits
totaling $9,657, Pierre falsely reported that Customer 18 purchased 6,652 gallons of fuel for non-
taxable use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon, Customer
18 would have incurred a gas expense in the amount of $13,3 04, more than his total reported
income, Pierre claimed a bogus fuel tax credit in the amount of $1 ,217, and thereby claimed a

bogus refund in the amount of $1,001 on Customer 18’s 2016 tax retum.

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Cust@ers 19 an_dZ0 (con’t)

154. Pierre prepared the 2016 federal income tax return of Customers 19 and 20.
Customers 19 and 20 received Wages totaling $19,777 in 2016. Pierre falsely reported that
Customers 19 and 20 purchased 3,478 gallons of fuel for non-taxable use. Assuming,
conservatively, that the gas was purchased at $2.00 per gallon, Customers 19 and 20 would have
incurred a gas expense in the amount of $6,956, or over 35% of their reported income. Pierre
claimed a bogus fuel tax credit in the amount of $636, and a bogus refund of $1,559 on the 2016
tax return of Customers 19 and 20.

Reporting False Tax Withholdings Far Exceeding Amounts Actually Withheld
and Reported on Forms W-2

155. The Defendants prepare tax returns on which they falsely report the amount of
taxes withheld from customers’ income far in excess of the taxes actually withheld as reported
on Forms W-2 issued to the customers by their employers

156. Employers are required to compute and withhold from their employees’ wages
federal income, social security, and Medicare taxes At the end of a tax year, the amount
withheld from an employee’s wages is a fixed and certain number. The final amount Withheld is
typically reported on a Form W-2. The Form W-2 is sent to the taxpayer from the employer and
later filed by the taxpayer or his tax preparer along with the tax retum.

157. The Defendants disregard the federal tax withholdings reported on the Form W-2
and instead report a far larger amount on the tax retum. By falsely claiming that a larger amount
of tax was Withheld from customers’ income, the Defendants falsely claim a larger refund of
taxes allegedly withheld. Fabricating the withholding amounts reported on customers’ tax
returns in contravention of the amounts reported on customers’ Forms W-2 provided to the

Defendants constitutes outright fraud and is a serious obstruction of tax administration

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15 8. The Defendants also often report that a customer received wages or “HSH”
income, and that taxes were withheld from these reported wages or “HSH” income, when, in
fact, the customer did not receive any wages or “HSH” income and, as a result, no taxes were
withheld. The Defendants then claim a bogus refund of taxes purportedly withheld from non-
existent wages or “HSH” income that the Defendants fabricated (see Customers 25 and 26,
paragraphs 146-149, supra).

159. ln other instances the Defendants total all of the amounts withheld from a
customer’s wages (federal income taxes social security, and Medicare taxes) as reported on a
Form W-2 or pay stub, and falsely report this total amount as the amount of income taxes
withheld,

160. Frequently, in connection with reporting fabricated wages and withholdings the
Defendants also falsely claim that the customer had a business through which the customer
incurred expenses resulting in a loss The bogus business loss that the Defendants report on the
customer’s tax return results in the return claiming a larger bogus refund of the phony
withholdings reported on the retum.

Customer 30

161. For example, Character prepared the 2016 federal income tax return of Customer
30 of Orlando, Florida. Customer 30 was employed as a supervisor at a pipe manufacturer in
2016, Customer 30 did not own or operate a business Customer 30 provided Character with a
copy of his paystub and Form W-2; the Form W-2 showed that he received wages totaling
$54,908 and had taxes withheld in the amount of $7,303.

162. Character falsely reported on the 2016 tax return that Customer 30 received wages

totaling $62,057 ($7,149 more than reported on his Form W-2) and had taxes withheld in the

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amount of $11,645 ($4,342 more than reported on his Form W-2). The reported taxes withheld
equaled the amount of his tax withheld, Medicare withholdings and social security withholdings
as reflected on the paystub Customer 30 provided to Character. By falsely claiming that these
combined amounts constituted the tax withheld, Character falsely increased Customer 30’s
refund by $4,342.

163. In addition, Character falsely reported on the Schedule C attached to the 2016 tax
return that Customer 30 owned a business not identified by name or type of business through
which Customer 30 had no sales and received no gross receipts but incurred 830,211 in
expenses including car and truck expenses ($13,079), renting or leasing business property
($10,500), deductible meals and entertainment ($1,800), and utilities ($4,832). Customer 30 did
not have any such business expenses and did not discuss owning a business with Character. By
reporting the fabricated business expenses Character claimed a bogus EITC in the amount of
$2,700 and, by also reporting the fabricated Withholdings claimed a bogus refund of 814,802 on
Customer 30’s 2016 tax return, Customer 30 was charged $738 to have this return prepared.

164. Character also prepared Customer 30’s 2015 and 2017 federal income tax returns
Customer 30 received wages totaling $55,741 in 2015. On the Schedule C attached to the 2015
tax return, Character falsely reported that Customer 30 owned a business not identified by name
or type of business through which Customer 30 had no sales and received no gross receipts but
incurred $27,240 in expenses all purportedly for car and truck expenses On both the 2015 and
2016 tax returns Character falsely reported that Customer 30 drove his personal vehicle exactly
9,986 miles for the non-existent business a number that, even if it had not been entirely
fabricated, does not equate to the dollar amount of the claimed vehicle expenses on the retum.

On the Form 8867 attached to the return, Character falsely reported that Customer 30 provided

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records of gross receipts even though Customer 30 did not own a business and Character did not
report any gross receipts on the Schedule C. As a result, Character falsely claimed an EITC in
the amount of $3,355 and a bogus refund in the amount of 812,180.

165. Customer 30 received Wages totaling $60,504 in 2017. On the Schedule C
attached to the 2017 tax return, Character falsely reported that Customer 30 had a lawn service
business through which Customer 30 received $5,800 in gross receipts but incurred $28,922 in
expenses including for advertising ($875), car and truck expenses ($8,847), renting business
property ($12,700), supplies ($l,900), and utilities ($4,600). Customer 30 did not have a lawn
care business and did not tell Character that he had a lawn care business or the reported
expenses In addition, Character falsely reported on the Schedule A attached to the return that
Customer 30 incurred unreimbursed employee business expenses in the amount of $3 6,545, or
over 60% of his wages when Customer 30 did not incur any such expenses did not provide this
amount to Character, and, as with the fabricated expenses reported on his 2015 and 2016 tax
returns was unaware that Character reported this false information on his retum. As a result,
Character falsely claimed a bogus refund in the amount of $8,728 on Customer 30’s 2017 tax
retum. The three Character-prepared returns falsely claimed that Customer 30 lost a total of
880,573 through a non-existent business in 2015, 2016, and 2017.

Customer 31

166. Character prepared the 2016 federal income tax return of Customer 31 of
Orlando, Florida. In 2016, Customer 31 received wages totaling $2,927 and had taxes withheld
in the amount of $247, as reported to the IRS on a Form W-2. On Customer 31 ’s 2016 tax return,
Character falsely reported that Customer 31 received wages totaling $12,882 ($9,955 more than

reported on her Form W-2) and had taxes withheld in the amount of $2,247 ($2,000 more than

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reported on her Form W-2). By claiming this fabricated amount of tax withheld from falsely
inflated reported wages Character falsely increased Customer 31 ’s refund by $2,000.

Customer 32

167. Character prepared the 2016 federal income tax return of Customer 32 of
Orlando, Florida. ln 2016, Customer 32 received wages totaling $14,395 and had taxes withheld
in the amount of $1,287, as reported to the IRS on a Form W-2. On Customer 32’s 2016 tax
return, Character falsely reported that Customer 32 received wages totaling $24,3 96 (810,001
more than reported on her Form W-2) and had taxes withheld in the amount of $3,287 ($2,000
more than reported on her Form W-2). Character also falsely reported on the Schedule C
attached to the tax return that Customer 32 owned a business not identified by name or type of
business though which she had no sales and received no gross receipts but incurred expenses
totaling $14,400 for renting business property ($9,800) and utilities ($4,600). By falsely
reporting higher wages and higher tax withholdings but then offsetting the reported additional
income (in the form of the fabricated wages) by claiming a phony business loss Character
claimed a bogus refund of $3,662 on Customer 32’s 2016 tax retum.

Customer 33

168. Thales prepared the 2017 federal income tax return of Customer 33 of
Gainesville, Florida. In 2017, Customer 33 received wages totaling $1,562 and had taxes
withheld in the amount of 8109, as reported to the IRS on Forms W-2. On Customer 33’s 2017
tax return, Thales falsely reported that Customer 33 received wages totaling $788 ($774 less than
reported on his Forms W-2) and had taxes withheld in the amount of $4,047 ($3,938 more than
reported on his Forms W-2). By falsely reporting higher tax withholdings Thales claimed a

bogus refund of $3,2_96 on Customer 33’s 2017 tax return.

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Customer 34

169. LaMoute prepared the 2017 federal income tax return of Customer 34 of
Gainesville, Florida. In 2017, Customer 34 received wages totaling $4,146 and had taxes
withheld in the amount of $1,149, as reported to the IRS on Forms W-2. On Customer 34’s 2017
tax return, LaMoute falsely reported that Customer 34 received wages totaling 811,707 ($7,561
more than reported on her Forms W-2) and had taxes withheld in the amount of $2,960 ($1,81 1
more than reported on her Forms W-2). By falsely reporting higher tax Withholdings, LaMoute
claimed a bogus refund of $9,161 on Customer 34’s 2017 tax retum.

Customer 35

170. Pierre prepared the 2017 federal income tax return of Customer 35 of Gainesville,
Florida. In 2017, Customer 35 received wages totaling $7,883 and had taxes withheld in the
amount of $51, as reported to the IRS on a Form W-2. On Customer 35’s 2017 tax return, Pierre
falsely reported that Customer 35 received wages totaling $7,244 ($639 less than reported on her
Form W-2) and had taxes withheld in the amount of $952 ($901 more than reported on her Form
W-2). By falsely reporting higher tax withholdings Pierre claimed a bogus refund of $7,891 on
Customer 35’s 2017 tax retum.

Customer 36

171. Marc prepared the 2017 federal income tax return of Customer 36 of Orlando,
Florida. In 2017, Customer 36 received wages totaling $6,516 and had taxes withheld in the
amount of 8360, as reported to the IRS on Forms W-2. On Customer 36’s 2017 tax return, Marc
falsely reported that Customer 36 received wages totaling $22,731 ($16,215 more than reported
on his Forms W-2) and had taxes withheld in the amount of $2,825 ($2,465 more than reported

on his Forms W-2). Marc also falsely reported on the Schedule A attached to the return that

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Customer 36 incurred $18,300 in unreimbursed employee business expenses By falsely
reporting higher tax withholdings and then claiming false itemized deductions Marc claimed a
bogus refund of $2,789 on Customer 36’s 2017 tax retum.

Improperly Preparing and Filing Retums based on Pay Stubs

172. The Defendants also prepare and file federal income tax returns using customers’
end-of-year pay stubs and then file their customers’ tax returns without valid Forms W-2.

173. Federal tax returns for wage earners must be prepared using Forms W-2. Using
pay stubs to prepare and file tax returns is improper and violates IRS rules Moreover, end-of-
year pay stubs frequently omit income and distributions that are shown on employer-issued
Forms W-2. Thus preparing and filing federal income tax retums based on information from
end-of-year pay stubs inevitably results in errors and omissions on federal tax retums, which
necessarily interferes with the administration and enforcement of the internal revenue laws

174. The Defendants know that using paystubs to prepare and file retums violates IRS
rules and regulations because in order to participate in the IRS’s electronic filing pro gram, all
electronic filers must acknowledge that they will comply with the IRS’s requirements Which
expressly prohibit filing returns prepared with pay stubs and without genuine Forms W-2.

175. The Defendants begin soliciting customers in December by falsely telling
customers that their returns can be prepared using their most recent paystub. Advanced Tax
Services opens before the end of the tax year, before customers know how much income they
earned and taxes they owe for the year, and before employers are able to issue Forms W-2 to
- their employees Forms W-2 are not available to employees before the end of the calendar tax

year, and tax returns cannot be filed before January of the processing year.

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176. By preparing tax returns before the end of the tax year, the Defendants unfairly

solicit business before competitors
Bogus Education Credits

177. The Defendants and the tax return preparers acting at the Defendants’ direction
or with their knowledge and consent, also claim bogus education expenses and falsely claim
refundable education credits including the American opportunity tax credit, on customers’
federal income tax returns Unlike many tax credits a refundable tax credit entitles qualifying
taxpayers to receive refunds even if they have no tax liability. The Defendants, and the tax return
preparers acting at the Defendants’ direction or With their knowledge and consent, claim false
education credits on the tax returns of customers who did not attend college and had no
qualifying education expenses in order to generate a larger bogus refund.

Customer 37

178. Marc prepared 2012 and 2013 federal income tax returns of Customer 37 of
Gainesville, Florida. Customer 37 did not attend college or incur any education-related expenses
in 2012 or 2013.

179. ln 2012, Customer 37 received wages totaling $14,721 through two jobs although
Marc did not report the income from one of the jobs and thus only reported income totaling
$13,702 on the 2012 tax retum. Marc falsely claimed that Customer 37 incurred education-
related expenses purportedly for attending Santa Fe College, in the amount of $2,600. By
reporting the fabricated education expense, Marc claimed a bogus American opportunity tax
credit in the amount of $860 and a nonrefundable education credit in the amount of $16 on
Customer 37’s 2012 tax return. Marc claimed a bogus refund of $6,424 on Customer 37 ’s 2012

tax retum.

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180. In 2013, Customer 37 received wages totaling $18,672. Marc falsely claimed that
Customer 37 incurred education-related expenses purportedly for attending Santa Fe College, in
the amount of $3,785. By reporting the fabricated education expense, Marc claimed a bogus
American opportunity tax credit in the amount of $978 on Customer 37’s 2012 tax retum. Marc
also falsely reported that Customer 37 purchased 7,981 gallons of fuel for off-highway business
use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon, Customer 37
would have incurred a gas expense in the amount of $15,962, or over 85% of his income, Marc
thus claimed a bogus fuel tax credit in the amount of $ 1 ,461 , and a bogus refund in the amount
of $8,658 on Customer 37’s 2013 tax retum.

Customer 38

181. Thales prepared the 2017 tax return of Customer 38 of Gainesville, Florida.
Thales falsely reported that Customer 38 attended the City College, Fort Lauderdale Campus
and incurred education-related expenses in the maximum reportable amount of $4,000, and
thereby claimed a bogus American opportunity tax credit in the maximum amount of $1,000 on
Customer 38’s 2017 tax retum. Thales claimed a bogus refund of $8,187 on Customer 38’s 2017
tax retum.

182. Even when customers incur education-related expenses the Defendants often
inflate the amount of the expense (and the resulting amount of the credit) claimed on the tax
retum.

Customer 39

183. Pierre prepared the 2017 federal income tax return of Customer 39 of Gainesville,
Florida. According to records provided to the IRS, in 2017, Customer 39 incurred tuition

expenses totaling $4,470 to attend Santa Fe College, but also received scholarships and grants

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totaling $2,684. Pierre falsely reported on the 2017 tax return that Customer 39 incurred
education-related expenses in the maximum reportable amount of 84,000, and thereby claimed a
bogus American opportunity tax credit in the maximum amount of $1,000 and a nonrefundable
education credit in the amount of $423 on Customer 39’s 2017 tax retum. Thus Pierre claimed a
bogus refund of $1,592 on Customer 39’s 2017 tax retum.

Customer 40

184. Customer 40 of Winter Haven, Florida had his 2017 federal income tax return
prepared at the Advanced Tax Services store at 112 North Orange Blossom Trail in Orlando.
According to records provided to the IRS, in 2017, Customer 40 incurred tuition expenses
totaling $4,159 to attend Seminole State College, but also received scholarships and grants
totaling $3,037. The preparer falsely reported on the 2017 tax return that Customer 40 incurred
education-related expenses in the maximum reportable amount of $4,000, and thereby claimed a
bogus American opportunity education credit in the maximum amount of $ 1 ,000 on Customer
40’s 2017 tax retum. The preparer also claimed a bogus fuel tax credit in the amount of $364.
Thus the Advanced Tax Services preparer claimed a bogus refund of $1,822 on Customer 40’s
2017 tax retum.

Unconscionable and Undisclosed Fees

185. The Defendants charge unconscionably high fees to prepare tax returns which are
typically charged without customers’ knowledge The Defendants charge these high fees to
prepare and file false tax returns with unnecessary and bogus forms and schedules attached,
when they should have honestly prepared a basic Form 1040 tax return.

186. The Defendants intentionally deceive customers regarding the fees charged for the

preparation of tax retums. The Defendants do not disclose the full amount of the fee and, when

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having the customer sign forms showing the fee, cover the fee with a hand or a piece of paper
and do not explain to the customer what the customer is signing

187. The Defendants charge additional fees for each form and schedule (such as a
Schedule C or a Form 8863 for an education credit) attached to the Form 1040 tax retum. The
Defendants charge separate fees for forms and schedules such as the electronic filing
authorization (Form 8879) which is required for e-filing, the EITC qualifying child form
(Schedule EIC), and the related EITC due diligence checklist (Form 8867), which must be
completed in connection with a claim for the EITC. These fees result in a total tax return
preparation fee much higher than the amount advertised, often $l,000 or more.

188. The high fees charged (and the fee structure, which encourages the addition of
unnecessary and often improper forms and schedules to the Form 1040) are a strong incentive for
the Defendants to prepare and file false or fraudulent tax returns claiming excessive refunds
based on bogus claims and associated forms and schedules

189. Because the Defendants target low-to-moderate-income individuals the high fees
frequently can pose a significant financial hardship for customers Customers may be required to
pay back the improper refunds that they receive. Because the Defendants deduct their high fees
directly from her customers’ refunds customers required to return these improper refunds to the
government must also return the portion subtracted as fees Thus customers are then out-of-
pocket the high fees that the Defendants charged.

190. The Defendants also routinely and intentionally fail to disclose to customers all
fees charged. The Defendants present forms to customers to sign, including a form
acknowledging the fees charged, without allowing the customer to closely review or understand

the forms they are signing Altematively, the Defendants tell customers one amount for fees and

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then later increase the fees without the customers’ knowledge or consent, Customers are often
surprised to learn that the refund requested on their return is hundreds if not thousands of dollars
more than the refund amount that they received after the fees were deducted.

191. The Defendants’ fees are not paid by customers at the time of the preparation of
their tax retums, but instead are subtracted from the customers’ tax refund. By doing so, the
Defendants are able to conceal from unsuspecting customers the actual amount that the
customers pay to have their tax return prepared. Customers typically do not discover that the fees
charged are much more than the customers anticipated for the preparation of their tax return until
the customers receive a refund that is much less than quoted by the tax return preparer, after the
Defendants subtracted their high fees

192. The Defendants’ practice of charging unconscionable and undisclosed fees
interferes with the administration and enforcement of the lntemal Revenue laws Such behavior
erodes consumer confidence in tax return preparers and dissuades taxpayers from seeking
professional assistance with the preparation of their federal tax returns

Failure to Provide Customers with Copies of their Completed Tax Retums
in Violation of 26 U.S.C. § 6107(a)

193. The Defendants fail to provide customers with copies of their completed tax
retums. The completed tax return, filed with the IRS, shows the refund that the Defendants are
claiming for the customer. F or example, a customer who is provided a copy of a tax return
showing the actual tax refund claimed is able to determine the amount of fees that the
Defendants charged by subtracting the amount of the refund that the customer actually receives
from the amount of the refund claimed on the tax retum. The Defendants’ failure to provide a
copy of a customer’s completed tax return is part of the strategy to conceal the actual fees from

their customers

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194. Failing to provide a customer with a copy of the completed tax return also violates
26 U.S.C. § 6107(a), which requires that a tax return preparer “shall furnish a completed copy of
[a tax return or claim for refund] to the taxpayer not later than the time such return or claim is
presented for such taxpayer’s signature.”

195. Customers who do receive a copy of the tax return oden receive only the first two
pages of the Form 1040, but not the other forms filed with the return, such as Forms Schedule C,
Forms Schedule A, and Forms 2106, “Employee Business Expenses.” This is because the
Defendants make false claims on these forms and, to conceal the claims from customers do not
provide customers with copies of these completed forms

Additional Examples of the Defendants’ False or Fraudulent Tax Return Preparation

Customers 41 and 42

196. Customers 41 and 42 of Gainesville, Florida had their 2012, 2013, 2014, 2015,
2016, and 2017 federal income tax returns prepared at Advanced Tax Services Marc prepared
the 2012 and 2013 tax returns LaMoute prepared the 2014 tax return, Pierre prepared the 2015
and 2016 tax retums, and Thales prepared the 2017 tax retum. Outside of his job, Customer 41
also sells t-shirts and doing so, may lose up to a couple of thousand dollars annually.

197. On the 2012 tax return of Customers 41 and 42, Marc falsely reported that
Customer 41 owned a “merchandise” business through which he received gross receipts totaling
$3,254, but incurred expenses totaling $9,213, including for an office ($2,457), deductible meals
and entertainment ($4,578), and phone and intemet ($2,178). Marc also falsely claimed that
Customer 42 was a student at Santa Fe College and incurred education-related expenses in the
amount of $2,915. Santa Fe College did not provide any records to the IRS showing that

Customer 42 was a student or incurred any such expenses in 2012. By reporting these fabricated

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education expenses Marc claimed bogus education credits in the amounts of $3 68 and 8891 on
the 2012 tax return of Customers 41 and 42. Thus Marc claimed a bogus refund of $7,812 on the
2012 tax return of Customers 41 and 42,

198. In 2013, Customers 41 and 42 received wages totaling $40,242 through their jobs
at a fast food restaurant On the Schedule C attached to the 2013 tax return of Customers 41 and
42, Marc falsely reported that Customer 41 owned a business not identified by name or type of
business through which Customer 41 had no sales and received no gross receipts but incurred
$11,052 in expenses including car and truck expenses ($8,474) and renting or leasing business
property ($2,578). On the Form 8867 attached to the return, Marc falsely reported that Customer
41 provided records of income and expenses even though Customer 41 did not own a business
and Marc did not report any gross receipts or income on the Schedule C.

199. On the Schedule A attached to the tax return, Marc falsely reported that
Customers 41 and 42 donated 815,879, or over 39% of their reported income, in cash to charity.
Marc also falsely reported that Customers 41 and 42 purchased 7,864 gallons of fuel for off-
highway business use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon,
Customers 41 and 42 would have incurred a gas expense in the amount of $15,728, or over 39%
of their reported income, Marc claimed a bogus fuel tax credit in the amount of $ 1 ,439. Marc
claimed a phony EITC in the amount of $4,044 and a bogus refund of $8,896 on the 2013 tax
return of Customers 41 and 42.

200. In 2014, Customers 41 and 42 received wages totaling $46,244. On the Schedule
C attached to the 2014 tax return of Customers 41 and 42, LaMoute falsely reported that
Customer 41 owned a business identified as his employer, Chowdhurry Hines (as identified on

the Form W-2 issued to Customer 41), through which Customer 41 had no sales and received no

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gross receipts but incurred 818,719 in expenses including car and truck expenses ($ 17,944),
taxes and licenses ($50), travel ($400), and deductible meals and entertainment ($275). On the
Form 8867 attached to the return, LaMoute falsely reported that Customer 41 provided records
of expenses and gross receipts even though Customer 41 did not own a business and LaMoute
did not report any gross receipts on the Schedule C. LaMoute also falsely reported that
Customers 41 and 42 purchased 5,571 gallons of fuel for off-highway business use. Assuming,
conservatively, that the gas was purchased at $2.00 per gallon, Customers 41 and 42 would have
incurred a gas expense in the amount of $l 1, 142, or over 24% of their reported income.
LaMoute claimed a bogus fuel tax credit in the amount of $1,01 9. LaMoute claimed a phony
EITC in the amount of $4,562 and a bogus refund of $9,165 on the 2014 tax return of Customers
41 and 42.

201. In 2015, Customers 41 and 42 received wages totaling $38,260. On the Schedule
C attached to the 2015 tax return of Customers 41 and 42, Pierre falsely reported that Customer
41 owned a business identified as his employer, Chowdhurry Hines (as identified on the Form
W-2 issued to Customer 41), through which Customer 41 had no sales and received no gross
receipts but incurred 819,911 in expenses all for purported car and truck expenses Pierre also
falsely reported that Customers 41 and 42 purchased 2,945 gallons of fuel for off-highway
business use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon,
Customers 41 and 42 would have incurred a gas expense in the amount of $5,890, or over 15%
of their reported income. Pierre claimed a bogus fuel tax credit in the amount of $539. Pierre
claimed a phony EITC in the amount of $5,548 and a bogus refund of $9,299 on the 2015 tax

return of Customers 41 and 42.

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202. In 2016, Customers 41 and 42 received wages totaling $55,557. On the Schedule
C attached to the 2016 tax return of Customers 41 and 42, Pierre falsely reported that Customer
41 owned a business identified as his employer, Chowdhurry Hines (as identified on the Form
W-2 issued to Customer 41), through which Customer 41 had no sales and received no gross
receipts but incurred $35,139 in expenses all for purported car and truck expenses Pierre also
falsely reported that Customers 41 and 42 purchased 2,345 gallons of fuel for off-highway
business use. Assuming, conservatively, that the gas was purchased at $2.00 per gallon,
Customers 41 and 42 would have incurred a gas expense in the amount of $4,690. Pierre
claimed a bogus fuel tax credit in the amount of $429. Pierre claimed a phony EITC in the
amount of $5,572 rand a bogus refund of $9,679 on the 2016 tax return of Customers 41 and 42,

203. In 2017, Customers 41 and 42 received wages totaling $54,287. On the Schedule
C attached to the 2017 tax return of Customers 41 and 42, Thales falsely reported that Customer
41 owned a business identified as his employer, Chowdhurry Hines (as identified on the Form
W-2 issued to Customer 41), through which Customer 41 had no sales and received no gross
receipts but incurred 832,269 in expenses all for purported car and truck expenses As a result,
Thales claimed a phony EITC in the amount of $6,318 and a bogus refund of $9,653 on the 2017
tax return of Customers 41 and 42.

204. The fabricated business losses claimed across these 6 tax returns total $123,049.

Customer 43

205. Customer 43 of Gainesville, Florida had her 2013, 2014, 2015, 2016, and 2017
federal income tax returns prepared at Advanced Tax Services Marc prepared the 2013 tax
return, Pierre prepared the 2014, 2015, and 2017 tax returns and LaMoute prepared the 2016 tax

retum.

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206. Customer 43 received wages totaling $24,099 in 2013. On the 2013 tax return of
Customer 43, Marc falsely reported that Customer 43 owned a business not identified by name
or type of business through which she had no sales and received no gross receipts but incurred
expenses totaling $11,276, including for car and truck expenses ($4,676) and rent ($6,600), a
personal expense, On the Schedule A attached to the tax return, Marc falsely reported that
Customer 43 donated $4,789, or over 19% of her reported income, in cash to charity. Marc also
falsely reported that Customer 43 purchased 2,456 gallons of fuel for off-highway business use.
Assuming, conservatively, that the gas was purchased at $2.00 per gallon, Customer 43 would
have incurred a gas expense in the amount of $4,912, or over 20% of her reported income. Marc
claimed a bogus fuel tax credit in the amount of $449. Marc claimed a bogus refund of $2,296 on
Customer 43’s 2013 tax retum.

207. Customer 43 received wages totaling $31,690 in 2014. On the 2014 tax return of
Customer 43, Pierre falsely reported that Customer 43 owned a business not identified by name
or type of business through which she had no sales and received no gross receipts but incurred
expenses totaling $9,312, all for purported car and truck expenses On the Schedule A attached
to the tax return, Pierre falsely reported that Customer 43 incurred general sales taxes in the
amount of $8,754, or over 27% of her reported income, and incurred $10,965, or over 34% of her
wages in unreimbursed employee business expenses Pierre also falsely reported that Customer
43 purchased 4,237 gallons of fuel for off-highway business use. Assuming, conservatively, that
the gas was purchased at $2.00 per gallon, Customer 43 Would have incurred a gas expense in
the amount of $8,474, or over 26% of her reported income, Pierre claimed a bogus fuel tax

credit in the amount of 8775. Pierre claimed a bogus refund of $2,474 on Customer 43 ’s 2014

tax retum.

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208. Customer 43 received wages totaling $31,175 in 2015. On the Schedule A
attached to Customer 43 ’s 2015 tax return, Pierre falsely reported that Customer 43 incurred
general sales taxes in the amount of $7,854, or over 25% of her reported income, Pierre falsely
reported that Customer 43 donated $5,899, or over 18% of her reported income, in cash to
charity. Pierre also falsely reported that Customer 43 incurred $15,942, or over 51% of her
wages in unreimbursed employee business expenses Pierre also falsely reported that Customer
43 purchased 3,310 gallons of fuel for non-taxable use. Assuming, conservatively, that the gas
Was purchased at $2.00 per gallon, Customer 43 Would have incurred a gas expense in the
amount of $6,620, or over 21% of her reported income, Pierre claimed a bogus fuel tax credit in
the amount of $606.

209. Pierre also falsely claimed that Customer 43, who was a student at Santa Fe
College in 2015, incurred education-related expenses in the maximum reportable amount of
$4,000. ln reality, according to records that Santa Fe College provided to the IRS on a Form
1098-T, Customer 43 incurred tuition expenses of $414 in 2015. By reporting the falsely
inflated education expense, Pierre claimed a bogus American opportunity tax credit in the
maximum amount of$1,000 on Customer 43’s 2015 tax retum. Pierre claimed a bogus refund of
$3,296 on Customer 43’s 2015 tax retum.

210. Customer 43 received wages totaling $30,637 in 2016, On the Schedule A
attached to Customer 43 ’s 2016 tax return, LaMoute falsely reported that Customer 43 incurred
general sales taxes in the amount of $8,977, or over 29% of her reported income. LaMoute
falsely reported that Customer 43 donated $3,878 in cash to charity. LaMoute also falsely
reported that Customer 43 incurred $21,819, or over 71% of her wages in unreimbursed

employee business expenses LaMoute also falsely reported that Customer 43 purchased 3,754

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gallons of fuel for non-taxable use. Assuming, conservatively, that the gas was purchased at
$2.00 per gallon, Customer 43 would have incurred a gas expense in the amount of $7,508, or
over 24% of her reported income. LaMoute claimed a bogus fuel tax credit in the amount of
$687.

211. LaMoute also falsely claimed that Customer 43, who was a student at Santa Fe
' College in 2016, incurred education-related expenses in the amount of $3,879. In reality,
according to records that Santa Fe College provided to the IRS on a Form 1098-T, Customer 43
incurred tuition expenses of $670 in 2016. By reporting the falsely inflated education expense,
LaMoute claimed a bogus American opportunity tax credit in the amount of 8988 on Customer
43’s 2016 tax return, LaMoute claimed a bogus refund of $3,190 on Customer 43’s 2016 tax
retum.

212. Customer 43 received wages totaling $32,614 in 2017. On the 2017 tax return of
Customer 43, Pierre falsely reported that Customer 43 owned a business identified as her
employer, Shandshands Teaching Hospital and Clinics (as identified on the Form W-2 issued to
Customer 43), which she had no sales and received no gross receipts but incurred expenses
totaling $21,289, all for purported car and truck expenses Pierre also falsely reported that
Customer 43 purchased 3,175 gallons of fuel for non-taxable use. Assuming, conservatively,
that the gas was purchased at $2.00 per gallon, Customer 43 would have incurred a gas expense
in the amount of $6,350, or over 19% of her reported income, Pierre claimed a bogus fuel tax
credit in the amount of 858 1.

213. Pierre also falsely claimed that Customer 43, who was a student at Santa Fe
College in 2017, incurred education-related expenses in the amount of $3,71 9. ln reality,

according to records that Santa Fe College provided to the IRS on a Form 1098-T, Customer 43

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incurred tuition expenses of $956 in 2017. By reporting the falsely inflated education expense,
Pierre claimed a bogus American opportunity tax credit in the amount of $972 and a
nonrefundable education credit in the amount of $94 on Customer 43’s 2017 tax retum. Pierre
claimed a bogus refund of $3,3 13 on Customer 43’s 2017 tax retum.

Customer 44

214. Customer 44 of Alachua, Florida had his 2014, 2015, 2016, and 2017 federal
income tax returns prepared at Advanced Tax Services Pierre prepared the 2014, 2015, and 2016
tax retums and Thales prepared the 2017 tax return,

215. Customer 44, a correctional officer for the State of Florida, received wages
totaling $34,886 in 2014. On the 2014 tax return of Customer 44, Pierre falsely reported that
Customer 44 owned a business identified as being a correctional officer for the State of Florida
(which is not a self-employed business), through which he had no sales and received no gross
receipts but incurred expenses totaling $8,43 9, all for purported car and truck expenses On the
Schedule A attached to the tax return, Pierre falsely reported that Customer 44 incurred $18,438,
or over 52% of his wages in unreimbursed employee business expenses Pierre falsely reported
that Customer 44 incurred $11,109 in vehicle expenses $5,687 in overnight travel expenses and
$3,284 in meals and entertainment expenses purportedly related to his job as a correctional
officer. As a result of these false claims Pierre claimed a fabricated EITC in the amount of
$3,650 and a bogus refund of $7,365 on Customer 44’s 2014 tax retum.

216. Customer 44 received wages totaling $36,919 in 2015. On the 2015 tax return of
Customer 44, Pierre falsely reported that Customer 44 owned a business identified as being a
correctional officer for the State of Florida, through which he had no sales and received no gross

receipts but incurred expenses totaling $12,473, all for purported car and truck expenses As a

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result of the phony business loss Pierre claimed a fabricated EITC in the amount of $4,218 and a
bogus refund of $8,127 on Customer 44’s 2015 tax retum.

217. Customer 44 received wages totaling $37,102 in 2016, On the 2016 tax return of
Customer 44, Pierre falsely reported that Customer 44 had a business identified as being a
correctional officer for the State of Florida, through which he had no sales and received no gross
receipts but incurred expenses totaling $17,521, all for purported car and truck expenses As a
result of the phony business loss Pierre claimed a fabricated EITC in the amount of $5,2 80 and a
bogus refund of $8,474 on Customer 44’s 2016 tax retum.

218. Customer 44 received wages totaling $44,283 in 2017. On the 2017 tax return of
Customer 44, Thales falsely reported that Customer 44 owned a business identified as being a
correctional officer for the State of Florida, through which he had no sales and received no gross
receipts but incurred expenses totaling $20,992, all for purported car and truck expenses As a
result of the phony business loss Thales claimed a fabricated EITC in the amount of $4,577 and
a bogus refund of $8,561 on Customer 44’s 2017 tax retum.

Customer 45

219. Customer of Hawthome, Florida had his 2012, 2013, 2014, 2015, 2016, and 2017
federal income tax returns prepared at Advanced Tax Services Marc prepared the 2012 and 2013
tax returns Pierre prepared the 2014, 2015, and 2016 tax returns and Thales prepared the 2017
tax return,

220. On the 2012 tax return of Customer 45, Marc also falsely reported that Customer
45 purchased 2,605 gallons of fuel for off-highway business use and 2,855 gallons of fuel for
other nontaxable use. Marc claimed a bogus fuel tax credit in the amount of $999. As a result,

Marc claimed a bogus refund of $942 on Customer 45’s 2012 tax retum.

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221. In 2013, Customer 45 received wages totaling $42,353. On the Schedule C
attached to the 2013 tax return of Customers 45, Marc falsely reported that Customer 45 owned a
business not identified by name or type of business through Which Customer 45 had no sales
and received no gross receipts but incurred 810,504 in expenses all for purported car and truck
expenses On the Schedule A attached to the tax return, Marc falsely reported that Customer 45
incurred general sales taxes in the amount of $8,759 , or over 20% of his reported income, and
donated $7,865, or over 18% of his reported income, in cash to charity. As a result, Marc
claimed a bogus refund of $4,016 on Customer 45’s 2013 tax retum.

222. In 2014, Customer 45 received wages totaling $42,128. On the Schedule C
attached to the 2014 tax return of Customer 45, Pierre falsely reported that Customer 45 had a
business not identified by name or type of business through which Customer 45 had no sales
and received no gross receipts but incurred $16,767 in expenses including car and truck
expenses ($10,890) and travel ($5,877). On the Schedule A attached to the tax return, Pierre
falsely reported that Customer 45 incurred $21,009, or over 49% of his wages in unreimbursed
job-related expenses Pierre falsely reported that Customer 45 incurred $1 1,132 in vehicle
expenses and $9,877 in overnight travel expenses AS a result of these false claims Pierre
claimed a bogus refund of $4,215 on Customer 45’S 2014 tax retum.

223. In 2015, Customer 45 received wages totaling $42,340. On the Schedule A
attached to the tax return, Pierre falsely reported that Customer 45 incurred 85,179 in general
sales taxes and the exact same amount of $5,17 9 in cash contributions to charity. Pierre also
falsely reported that Customer 45 incurred $28,947, or over 68% of his wages in unreimbursed
job-related expenses Pierre falsely reported that Customer 45 incurred $ 1 3,060 in vehicle

expenses $5,462 in parking fees tolls and transportation costs $7,069 in overnight travel

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expenses and $6,712 in meals and entertainment expenses As a result of these false claims
Pierre falsely reduced Customer 45’s taxable income to zero and claimed a bogus refund of
$4,223 on Customer 45’s 2015 tax retum.

224. In 2016, Customer 45 received wages totaling 842,160. On the Schedule A
attached to the tax return, Pierre falsely reported that Customer 45 incurred $8,895 in general
sales taxes and $5,897 in cash contributions to charity. Pierre also falsely reported that Customer
45 incurred $22,279, or over 52% of his Wages in unreimbursed job-related expenses Pierre
falsely reported that Customer 45 incurred $7,895 in vehicle expenses $12,095 in overnight
travel expenses and $4,5 77 in meals and entertainment expenses As a result of these false
claims Pierre claimed a bogus refund of $4,1 16 on Customer 45’s 2016 tax retum.

225. In 2017, Customer 45 received Wages totaling $35,290. On the Schedule A
attached to the tax return, Thales falsely reported that Customer 45 incurred $7,899 in general
sales taxes Thales also falsely reported that Customer 45 incurred $24,875, or over 7 0% of his
wages in unreimbursed job-related expenses Thales reported that all of these fabricated job-
related expenses were incurred for overnight travel. As a result of these false claims Thales
falsely reduced Customer 45’s taxable income to zero and claimed a bogus refund of $3,892 on
Customer 45’s 2017 tax retum.

Harm Caused by the Defendants

226. The Defendants’ preparation of false and fraudulent tax returns at their tax return
preparation stores false and misleading statements directed to customers and potential
customers and culture favoring volume and ill-gotten profits over accuracy and integrity have
harmed the public and the United States Treasury. These practices harm the public because the

Defendants and many of their preparers prepare false or fraudulent tax returns that understate

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their customers’ correct income tax liabilities and illegally cause customers to incorrectly report
their federal tax liabilities and underpay their taxes

227. Defendants’ conduct (and that of their preparers acting at their direction or with
their knowledge and consent) harms the United States Treasury by causing lost tax revenue

228. The Defendants’ customers have also been hanned because they relied on the
Defendants and their tax preparation stores to prepare proper tax returns Instead, customers’ tax
returns substantially understated their correct tax liabilities ader paying unconscionably high fees
to have their tax returns prepared. As a result, many customers who are oden low-income
taxpayers now face large income tax debts and may be liable for penalties and interest

229. Customers are hanned by the unconscionably high and frequently undisclosed
fees tied to anticipated tax refunds These fees are subtracted from the erroneous refunds that
result from the false or fraudulent tax return preparation perpetrated by the Defendants and their
employees acting at the Defendants’ direction and With their knowledge and consent When the
IRS conducts audits or examinations of customers and seeks repayment of these erroneous
refunds the customers are liable for the repayment of those refunds Not only do customers face
the hardship associated with repayment of erroneous refunds resulting from the Defendants’
greed at others’ expense, but customers may also have to repay the portion of the refund that the
Defendants subtracted in fees Customers may also have to pay additional fees to other tax return
preparers to file amended tax returns to correct the false or fraudulent tax returns prepared and
filed by the Defendants and their employees acting at their direction or with their knowledge and
consent

23 0. The Defendants’ misconduct further harms the United States and the public by

requiring the IRS to devote some of its resources to detecting their false claims on tax returns

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and assessing and collecting lost tax revenues from the Defendants’ customers Consequently,
identifying and recovering all lost tax revenues resulting from the Defendants’ activities may be
impossible

231. The Defendants’ misconduct also harms the United States and the public because
the Defendants train tax preparers, who have no previous tax return preparation experience, on
how to prepare tax returns that make false or fraudulent claims These Defendant-trained tax
preparers, in tum, often open their own tax preparation stores using the Defendants’ investments
of the ill-gotten gains that the Defendants received for the preparation of tax returns, or using the
income that the preparers received from the Defendants for the preparation of tax returns making
false or fraudulent claims ln this manner, the preparation of false or fraudulent tax returns
spreads like a wildfire.

232. The Defendants’ conduct also causes intangible harm to honest tax return
preparers who unfairly lose business to the Defendants due to their willingness to break the law.
Customers oiien have their returns prepared at the Defendants’ tax preparation stores because
they promise the maximum refund, and deliver by fabricating claims and deductions on
customers’ tax returns

233. Finally, the Defendants’ misconduct harms the public at large by undermining
public confidence in the federal tax system and encouraging widespread violations of the internal
revenue laws

234. The harm to the government and the public will continue, and likely increase,
unless the Defendants are enjoined because_given the seriousness and pervasiveness of their
illegal conduct-without an injunction, the Defendants are likely to continue preparing false and

Jd'audulent federal income tax returns for customers An injunction will serve the public interest

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because it will put a stop to the Defendants’ illegal conduct and the harm that it causes the
United States and its citizens

Count I
Injunction under 26 U.S.C. § 7407

235. Section 7407 of the Intemal Revenue Code authorizes a district court to enjoin a
tax return preparer from engaging in conduct subject to penalty under 26 U.S.C. § 6694 or §
6695. Additionally, if the court finds that a preparer has continually or repeatedly engaged in
such conduct, and the court further finds that a narrower injunction (i.e., prohibiting only that
specific enumerated conduct) would not be sufficient to prevent that person’s interference with
the proper administration of the internal revenue laws, the court may enjoin the person from
further acting as a tax return preparer. The prohibited conduct justifying an injunction includes,
among other things, the following:

a. Engaging in conduct subject to penalty under 26 U.S.C. § 6694(a), which
penalizes a return preparer who prepares a return or claim for refund that
contains an unreasonable position and the return preparer knew (or
reasonably should have known) of the position;

b. Engaging in conduct subject to penalty under 26 U.S.C. § 6694(b), which
among other conduct, penalizes a return preparer who recklessly or
intentionally disregards IRS rules or regulations;

c. Engaging in conduct subject to penalty under 26 U.S.C. § 6695(g), which

penalizes a return preparer who fails to comply with the statutory due
diligence requirements;

d. Guaranteeing the payment of any tax reiilnd or the allowance of any tax
credit; or
e. Engaging in any other fraudulent or deceptive conduct that substantially

interferes With the proper administration of the internal revenue laws
236. Section 7701(a)(36) of the lnternal Revenue Code defines tax return preparer to

include not only the individual Who physically prepares a tax return for compensation, but also

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anyone “who employs one or more persons” to prepare tax returns for compensation

237. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales, Advanced Tax Services, lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC, as shown above in paragraphs 5 through 234, are tax return preparers who have
repeatedly and continually prepared or submitted returns or portions of returns (or employed or
managed others who prepared or submitted returns or portions of retums) that contain
unreasonable positions and substantially understate the liability for tax on the retum.
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales also
advise, instruct, direct, and cause tax return preparers and employees to engage in tax fraud, and
to prepare federal income tax returns asserting unreasonable, unrealistic, frivolous and fraudulent
positions Accordingly, Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre,
and Shirleen Thales knew (or should have known) of the unreasonable, unrealistic, frivolous and
fraudulent positions

238. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales, and those acting in concert With them and at their direction, have continually
and repeatedly engaged in conduct subject to penalty under 26 U.S.C. § 6694 by preparing
federal tax returns that understate their customers’ liabilities based on unrealistic, frivolous and
reckless positions Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales, through the actions described above in paragraphs 5 through 234, also
recklessly or intentionally disregard IRS rules or regulations Marc, the sole member of
Advanced Tax Services, Inc. and Genson Financial Group, LLC, and Character, the sole member
of Character Financial Solutions, LLC, participated in and/or knew of the conduct subject to

penalty under 26 U.S.C. § 6694 engaged in by employees of Marc, Character, Advanced Tax

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Services lnc., Genson Financial Group, LLC, and Character Financial Solutions, LLC, Marc’s
and Character’s wholly-owned entities failed to provide reasonable and appropriate procedures
to prevent employees from engaging in conduct subject to penalty under 26 U.S.C. § 6694 and,
conversely, encouraged the filing of false tax returns

239. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales and those acting in concert With them and at their direction, have continually
and repeatedly engaged in conduct subject to penalty under 26 U.S.C. § 6695. The Treasury
regulations promulgated under 26 U.S.C. § 6695(g) prohibit a return preparer from claiming the
EITC without first conducting proper due diligence and documenting his or her compliance with
the due diligence requirements See 26 C.F.R. § 1.6695-2 (2011). Not only do Marcgenson
Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales fail to conduct
proper due diligence or comply with the due diligence requirements but they also advise,
encourage, and cause tax return preparers and employees to circumvent the due diligence
requirements and to ignore or disregard the information provided by customers

240. Marcgenson Marc’s, Tiana Character’s LeNorris LaMoute’s Dosuld Pierre’s,
and Shirleen Thales’ failure to comply with the due diligence requirements for the EITC violates
Treasury Regulations and their Willingness to falsify information to obtain the EITC for their
customers shows a reckless and/or intentional disregard of IRS rules and regulations

241. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales and those acting in concert with them and at their direction, have continually
and repeatedly prepared federal income tax returns that claim the EITC for customers where

Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales and

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those acting in concert with them and at their direction, have not conducted, let alone
documented, the required due diligence procedures

242. Marcgenson Marc, Tiana Character, LeNon'is LaMoute, Dosuld Pierre, and
Shirleen Thales fail to comply with 26 U.S.C. § 6695(a), Which requires that a tax return preparer
provide a copy of the completed tax return to the taxpayer.

243. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC also fail to comply with 26 U.S.C. §§ 6695(b) and 6695(0), which require that a
tax return preparer identify the actual paid preparer of the tax retum.

244. Marcgenson Marc’s, Tiana Character’s LeNorris LaMoute’s, Dosuld Pierre’s,
and Shirleen Thales’ continual and repeated violations of 26 U.S.C. §§ 6694 and 6695 fall within
26 U.S.C. § 7407(b)(l)(A), and thus are subject to an injunction under 26 U.S.C. § 7407.

245. Marcgenson Marc’s, Tiana Character’s LeNorris LaMoute’s, Dosuld Pierre’s,
and Shirleen Thales’ continual and repeated fraudulent or deceptive conduct in connection with
the preparation of tax retums, including in training individuals to prepare false tax returns and in
operating a tax preparation business where the preparation of false tax returns flourishes,
substantially interferes with the proper administration of the internal revenue laws and falls
within 26 U.S.C. § 7407(b)(l)(D), and Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, and Shirleen Thales thus are subject to an injunction under 26 U.S.C. § 7407.

246. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales and those acting in concert with them and at their direction, have continuously
and repeatedly guaranteed refunds to customers and guaranteed the allowance of tax credits

including but not limited to the EITC. This conduct falls within 26 U.S.C. § 7407(b)(l)(C), and

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Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales thus
are subject to an injunction under 26 U.S.C. § 7407.

247. If Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre,
Shirleen Thales, Advanced Tax Services lnc., Genson Financial Group, LLC, and Character
Financial Solutions, LLC are not enjoined from all tax preparation, they and those acting in
concert With them and at their direction are likely to continue to prepare and file false and
fraudulent tax retums.

248. Marcgenson Marc’s, Tiana Character’s LeNorris LaMoute’s, Dosuld Pierre’s,
Shirleen Thales’, Advanced Tax Services Inc.’s, Genson Financial Group, LLC’s, and Character
Financial Solutions, LLC’s continual and repeated conduct subject to an injunction under 26
U.S.C. § 7407, including their continual and repeated fabrication of expenses and deductions is
so flagrantly illegal and so egregious that it demonstrates that a narrow injunction prohibiting
only specific conduct would be insufficient to prevent Marcgenson Marc’s, Tiana Character’s
LeNorris LaMoute’s, Dosuld Pierre’s, Shirleen Thales’, Advanced Tax Services Inc.’s, Genson
Financial Group, LLC’s, and Character Financial Solutions, LLC’s interference with the proper
administration of the internal revenue laws Accordingly, Marcgenson Marc, Tiana Character,
LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc., Genson
Financial Group, LLC, and Character Financial Solutions, LLC should be permanently barred
from acting as federal tax return preparers and from owning, operating, managing, investing in,
controlling, licensing, franchising, or working for a tax return preparation business

Count II
Injunction under 26 U.S.C. § 7408

249. Section 7408 of the Internal Revenue Code authorizes a district court to enjoin

any person from engaging in conduct subject to penalty under either 26 U.S.C. § 6700 or § 6701

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if injunctive relief is appropriate to prevent recurrence of such conduct,

250. Section 6701 (a) of the Intemal Revenue Code penalizes any person who aids or
assists in, procures, or advises with respect to the preparation or presentation of a federal tax
return, refund claim, or other document knowing (or having reason to believe) that it will be used
in connection with any material matter arising under the internal revenue laws and knowing that
if it is so used it will result in an understatement of another person’s tax liability. Under 26
U.S.C. § 6701(c)(l), the term “procures” includes “ordering (or otherwise causing) a subordinate
to do an act,” as well as “knowing of, and not attempting to prevent, participation by a
subordinate in an act.”

251. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC, through the actions detailed above in paragraphs 5 through 234, caused the
presentation and preparation of false, fraudulent, and abusive tax returns and other documents
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales
prepare, assist, and/or advise with respect to the presentation and preparation of federal tax
returns for customers that they know will understate their correct tax liabilities because
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales
knowingly prepare, assist, and/or advise with respect to the presentation and preparation of
returns claiming bogus expenses and deductions Marcgenson Marc, Tiana Character, LeNorris
LaMoute, Dosuld Pierre, and Shirleen Thales procured and assisted the preparation of false and
fraudulent tax returns by filing and encouraging the preparation and filing of tax returns they

knew were false or fraudulent, and by employing, training, and supervising tax return preparers

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engaging in tax fraud. Marcgenson Marc, Tiana Character, LeNon'is LaMoute, Dosuld Pierre,
and Shirleen Thales have thus engaged in conduct subject to a penalty under 26 U.S.C. § 6701.

252. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales are likely to continue violating the law absent an injunction Tax return
preparation is a significant, if not primary, source of revenue for Marcgenson Marc, Tiana
Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales To maximize that income,
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and Shirleen Thales
prepare, and instruct and direct tax return preparers and employees to prepare, false or fraudulent
returns That conduct, in tum, gives Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, and Shirleen Thales a competitive edge over law-abiding preparers It also
provides a means for Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, and
Shirleen Thales to further exploit their customers by charging them unconscionably high fees,
while Marcgenson Marc’s, Tiana Character’s LeNonis LaMoute’s, Dosuld Pierre’s, and
Shirleen Thales’ false or fraudulent tax return preparation simultaneously and callously exposes
their customers to possible civil and criminal liability.

253. If the Court does not enjoin Marcgenson Marc, Tiana Character, LeNorris
LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc., Genson Financial
Group, LLC, and Character Financial Solutions, LLC, they are likely to continue to engage in
conduct subject to penalty under 26 U.S.C. § 6701. The preparation of tax returns claiming
improper expenses and deductions by Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, and Shirleen Thales and those acting in concert with them and at their direction,

is widespread over many customers and tax years lnjunctive relief is therefore appropriate under

26 U.S.C. § 7408.

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Count III
Injunction under 26 U.S.C. § 7402(a)
Necessary to Enforce the Internal Revenue Laws

254. Section 7402 of the Internal Revenue Code authorizes a district court to issue
injunctions as may be necessary or appropriate for the enforcement of the internal revenue laws.

255. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC, through the actions described above in paragraphs 5 through 23 4, including, but
not limited to, intentionally understating their customers’ tax liabilities and charging
unconscionable and undisclosed fees for the preparation of federal tax returns that intentionally
understate their customers’ tax liabilities have engaged in conduct that substantially interferes
with the enforcement of the internal revenue laws

256. Unless enjoined, Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld
Pierre, Shirleen Thales Advanced Tax Services Inc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC, and those acting in concert with them and at their direction,
are likely to continue to engage in such improper conduct and interfere with the enforcement of
the internal revenue laws If Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld
Pierre, Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC are not enjoined from engaging in fraudulent and deceptive
conduct, the United States will suffer irreparable injury by providing federal income tax refunds
to individuals not entitled to receive them.

257. While the United States will suffer irreparable injury if Marcgenson Marc, Tiana

Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc.,

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Genson Financial Group, LLC, and Character Financial Solutions, LLC are not enjoined, the
Defendants Will not be harmed by being compelled to obey the law.

258. Enjoining Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre,
Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character
Financial Solutions, LLC is in the public interest because an injunction, backed by the Court’s
contempt powers if needed, will stop the Defendants’ illegal conduct and the harm it causes the
United States and the Defendants’ customers

259. The Court should impose injunctive relief under 26 U.S.C. § 7402(a).

Count IV
Disgorgement under 26 U.S.C. § 7402(a)
Necessary to Enforce the Internal Revenue Laws

260. Section 7402 of the Intemal Revenue Code authorizes a district court to issue
orders judgments and decrees as may be necessary or appropriate for the enforcement of the
internal revenue laws

26l. Marcgenson Marc’s, Tiana Character’s LeNorris LaMoute’s, Dosuld Pierre’s,
Shirleen Thales’, Advanced Tax Services lnc.’s Genson Financial Group, LLC’s, and Character
Financial Solutions, LLC’s conduct, described above in paragraphs 5 through 234, substantially
interferes with the enforcement of the internal revenue laws and has caused the United States to
issue tax refunds to individuals not entitled to receive them. Marcgenson Marc, Tiana Character,
LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc., Genson
Financial Group, LLC, and Character Financial Solutions, LLC have unjustly profited at the
expense of the United States by subtracting their exorbitant fees from those refunds

262. Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen

Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial

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Solutions, LLC are not entitled to these ill-gotten gains But for the Defendants’ conduct, these
bogus refunds would not have been issued.

263. The Court should enter an order under 26 U.S.C. § 7402(a) requiring Marcgenson
Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax
Services lnc., Genson Financial Group, LLC, and Character Financial Solutions, LLC to
disgorge to the United States the gross receipts (in the form of fees subtracted from customers’
tax refunds) that Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC received for the preparation of federal tax returns making false and/or fraudulent
claims

WHEREFORE, the United States of America prays for the following:

A. That the Court find that Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC have continually and repeatedly engaged in conduct subject
to penalty under 26 U.S.C. §§ 6694 and 6695, continually and repeatedly engaged in other
fraudulent or deceptive conduct that substantially interferes with the administration of the tax
laws and that a narrower injunction prohibiting only this specific misconduct would be
insufficient;

B. That the Court, pursuant to 26 U.S.C. § 7407, enter a permanent injunction
prohibiting Marcgenson Marc, 'l`iana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial

Solutions, LLC from acting as federal tax return preparers;

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C. That the Court find that Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC have engaged in conduct subject to penalty under 26 U.S.C.
§ 6701, and that injunctive relief under 26 U.S.C. § 7408 is appropriate to prevent a recurrence
of that conduct;

D. That the Court find that Marcgenson Marc, Tiana Character, LeNonis LaMoute,
Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC have engaged in conduct that interferes with the enforcement
of the internal revenue laws and that injunctive relief is appropriate to prevent the recurrence of
that conduct pursuant to the Court’s inherent equity powers and 26 U.S.C. § 7402(a);

E. That the Court, pursuant to 26 U.S.C. §§ 7402(a), 7407, and 7408, enter a
permanent injunction prohibiting Marcgenson Marc, Tiana Character, LeNon'is LaMoute,
Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC, and all those in active concert or participation with them,
from:

(l) acting as federal tax return preparers or requesting, assisting in, or

directing the preparation or filing of federal tax returns amended returns
or other related documents or forms for any person or entity other than
themselves
(2) preparing or assisting in preparing federal tax returns that they know or
reasonably should know would result in an understatement of tax liability
or the overstatement of federal tax refund(s) as penalized by 26 U.S.C. §
6694;

(3) owning, operating, managing, working in, investing in, providing capital

or loans to, receiving fees or remuneration from, controlling, licensing,
consulting with, or franchising a tax return preparation business

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(4) training, instructing, teaching, and creating or providing cheat sheets
memoranda, directions instructions or manuals pertaining to the
preparation of federal tax returns;

(5) maintaining, assigning, holding, using, or obtaining a Preparer Tax
Identification Number (PTIN) or an Electronic Filing Identification
Number (EFIN);

(6) engaging in any other activity subject to penalty under 26 U.S.C. §§ 6694,
6695, 6701 , or any other penalty provision in the Intemal Revenue Code;
and

(7) engaging in any conduct that substantially interferes with the proper
administration and enforcement of the internal revenue laws

F. That the Court, pursuant to 26 U.S.C. §§ 7402(a) and 7407, enter an order
requiring Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC to immediately and permanently close all tax return preparation stores that they
own directly or through any other entity, and whether those stores do business as Advanced Tax
Services or under any other name;

G. That the Court, pursuant to 26 U.S.C. §§ 7402(a) and 7407, enter an order
appointing a receiver to sell all of the hard assets such as computers (after any and all taxpayer
information has been removed), electronics and furniture, for all tax return preparation stores
that Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales
Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial Solutions,
LLC own directly or through any other entity, and whether those stores do business as Advanced
Tax Services or under any other name;

H. That the Court, pursuant to 26 U.S.C. § 7402(a), enter an order prohibiting
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales

Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial Solutions,

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LLC, directly or through any other entity, from assigning, transferring, or selling any franchise
agreement, independent contractor agreement, or employment contract related to Marcgenson
Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax
Services lnc., Genson Financial Group, LLC, and Character Financial Solutions, LLC, or any
other tax return preparation business to which they or any entity under their control is a party;

I. That the Court, pursuant to 26 U.S.C. § 7402(a), enter an order barring
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales
Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial Solutions,
LLC, directly or through any other entity, fi‘om: (l) selling to a_ny individual or entity a list of
customers or any other customer information, for Whom Marcgenson Marc, Tiana Character,
LeNorris LaMoute, Dosuld Pierre, Shirleen Thales, Advanced Tax Services lnc., Genson
Financial Group, LLC, and Character Financial Solutions, LLC and any other business or name
(including but not limited to Advanced Tax Services) through which they, or those acting at their
direction, have at any time since 2013 prepared a tax retum; (2) assigning, disseminating,
providing, or giving to any current or former franchisee, General Sales Manager, District Sales
Manager, manager, tax return preparer, employee, or independent contractor of Marcgenson
Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax
Services lnc., Genson Financial Group, LLC, and Character Financial Solutions, LLC or any
other business or entity through which Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, or
Character Financial Solutions, LLC prepare tax returns or own or franchise a tax return
preparation business a list of customers or any other customer information for customers for

whom Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales

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Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial Solutions,
LLC, and any other business or name (including but not limited to Advanced Tax Services)
through which Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC, or those acting at their direction, have at any time since 2013 prepared a tax
retum; and (3) selling to M individual or entity any proprietary information pertaining to
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales
Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial Solutions,
LLC, and any other business or name (including but not limited to Advanced Tax Services)
through which Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC, or those acting at their direction, have at any time since 2013 prepared a tax
return; v

J. That the Court, pursuant to 26 U.S.C. § 7402, enter an order requiring
Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales
Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial Solutions,
LLC to disgorge to the United States the gross receipts (the amount of which is to be determined
by the Court) that Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre,
Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character
Financial Solutions, LLC received (in the form of fees subtracted from customers’ tax refunds)
for the preparation of tax returns that make or report grossly incompetent, negligent, reckless
and/or fraudulent claims deductions credits income, expenses or other information that results

in the understatement of taxes prepared since 2013 by Marcgenson Marc, Tiana Character,

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LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc., Genson
Financial Group, LLC, and Character Financial Solutions, LLC, and at any tax preparation store
franchised, owned, or managed by Marcgenson Marc, Tiana Character, LeNorris LaMoute,
Dosuld Pierre, Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and
Character Financial Solutions, LLC;

K. That the Court, pursuant to 26 U.S.C. §§ 7402(a) and 7407, enter an order
requiring Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services Inc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC to contact, within 30 days of the Court’s order, by United States mail and, if an
e-mail address is known, by e-mail, all persons for whom Marcgenson Marc, Tiana Character,
LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc., Genson
Financial Group, LLC, and Character Financial Solutions, LLC, and their managers employees
and tax return preparers (including but not limited to those doing business under the name
Advanced Tax Services) prepared federal tax returns or claims for a refund from 2013 and
continuing through this litigation to inform them of the permanent injunction entered against
them, including sending a copy of the order of permanent injunction but not enclosing any other
documents or enclosures unless agreed to by counsel for the United States or approved by the
Court;

L. That the Court, pursuant to 26 U.S.C. §§ 7402(a), 7407, and 7408, enter an order
requiring Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC to produce to counsel for the United States within 30 days of the Court’s order, a

list that identifies by name, social security number, address e-mail address and telephone

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number and tax period(s) all persons for Whom Marcgenson Marc, Tiana Character, LeNorris
LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc., Genson Financial
Group, LLC, and Character Financial Solutions, LLC, and their managers employees and tax
return preparers (including but not limited to those doing business under the name Advanced Tax
Services) prepared federal tax returns or claims for a refund since 2013;

M. That the Court, pursuant to 26 U.S.C. §§ 7402(a), 7407, and 7408, enter an order
requiring Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen
Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial
Solutions, LLC to produce to counsel for the United States within 30 days of the Court’s order, a
list that identifies by name, address e-mail address and telephone number all principals
officers managers franchisees employees and independent contractors of Marcgenson Marc,
Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services
lnc., Genson Financial Group, LLC, and Character Financial Solutions, LLC since 2013;

N. That the Court, pursuant to 26 U.S.C. §§ 7402(a), 7407, and 7408, enter an
injunction requiring Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre,
Shirleen Thales Advanced Tax Services lnc., Genson Financial Group, LLC, and Character
Financial Solutions, LLC to provide a copy of the Court’s order to all principals officers
managers franchisees employees and independent contractors of Marcgenson Marc, Tiana
Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc.,
Genson Financial Group, LLC, and Character Financial Solutions, LLC (from 2013 to the
present) within 15 days of the Court’s order, and provide to counsel for the United States Within
30 days a signed and dated acknowledgment of receipt of the Court’s order for each person

whom Marcgenson Marc, Tiana Character, LeNorris LaMoute, Dosuld Pierre, Shirleen Thales

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Advanced Tax Services lnc., Genson Financial Group, LLC, and Character Financial Solutions,
LLC provided a copy of the Court’s order;

O. That the Court retain jurisdiction over Marcgenson Marc, Tiana Character,
LeNorris LaMoute, Dosuld Pierre, Shirleen Thales Advanced Tax Services Inc_, Genson
Financial Group, LLC, and Character Financial Solutions, LLC and over this action to enforce
any permanent injunction entered against them;

P. That the United States be entitled to conduct discovery to monitor Marcgenson
Marc’s, Tiana Character’s LeNorris LaMoute’s Dosuld Pierre’s, Shirleen Thales’, Advanced
Tax Services lnc.’s, Genson Financial Group, LLC’s, and Character Financial Solutions, LLC’s
compliance With the terms of any permanent injunction entered against them; and

Q. That the Court grant the United States such other and further relief, including
costs as is just and reasonable

DATED: December 14, 2018 MARIA Cl-IAPA LOPEZ
United States Attorney

RICHARD E. ZUCKERMAN
Principal Deputy Assistant Attorney General

O€c`f`

/DZNIEL A AP GATE
ALISON A. Y DELL
JARED S. WIESNER
SAMUEL P. ROBlNS
Trial Attorneys Tax Division
U.S. Department of Justice
P.O. Box 7238, Ben Franklin Station
Washington, D.C. 2004-4
Telephone: (202) 353-8180
Fax: (202) 514-6770
daniel.a.applegate@usdoj. gov

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Case 6:18-cV-02147-ACC-TBS Document 1-1 Filed 12/17/18 Page 1 of 1 Page|D 85
ClVIL COVER SHEET

15 44 (Rcv. 06/|7)

The JS 44 civil cover sheet and the information contained herein neither rep

lace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules ol`court. This fonn, approved by the Judicial Conlerence ofthe United States in September 1974, is required for the use ofthe Clerk of(`oun l`or the
p\.l['pDSC 01`111111;\111‘1§ 1116 CiVll docket Sl'l€€i. [SEE INSTRU(:'TIONS ON NEXT PAGE O[" TIHS FORM'.)

 

I. (a) PLAlNTlFFS

UN|TED STATES OF AMER|CA

MREEEI§RM§!|ARC; TlANA CHARACTER; LENORR|S

LAMOUTE; DOSULD P|ERRE; SHIRLEEN THALES; ADVANCED
TAX SERV|CES, LLC; GENSON F|NANC|AL GROUP, LLC; et a|.

(b) C`oumy of Residcncc Of Firsl Listed Plainti|`i`
(EXCEPT]N U.S, PLA fi’\"T.l'FF C'[SES)

(C) Atlorneys (Fr`rm Numr’, Ar.'d.r‘e_rs. and Tei'epfrone Nunrbr':')
Danre| App|egate, U.S. Dept. of Justice, Tax Div., (202) 353-8180

P.O. Box 7238 Ben Franklin Stn.. Washington, D.C. 20044

NOTE:

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County of Residcnr;e ol` First Listed Defenclant

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VI. CAUSE OF ACTION

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VII. REQUESTED IN 13 CHECK lF Trus rs A CLAss ACTloN

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C ite the U.S. Civil Statute under which you are filing mo nor cna jurisdictional sramre.\' rrnl'ert di'verr.i'r_v):

26 U.S.C. Sections 7402(a). 7407, and 7408

Suit for permanent injunction barring defendants from preparing tax returns and disgorgement of ill-gotten gains

CHECK YES only il'dernanded in complaint

 

 

 

COMPLAINT: UNDER RULE 131 F-R-Cv-P- JURY DEMAND; cl res )aNo
VIII. RELATED CASE(S) v _

IF ANY (See rmmmw)" JUDGE DoCKET NUMBER j
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FOR OFFICE USE ONLY

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